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 6

 7                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 8

 9    JAMES DRUZBIK, derivatively on behalf of
      ADAMAS PHARMACEUTICALS, INC.,
10                                                    Case No.:
             Plaintiff,
11
             v.
12

13    GREGORY T. WENT, ALFRED G.
      MERRIWEATHER, RICHARD A. KING,
14    MICHAEL F. BIGHAM, MARTHA J.
      DEMSKI, MARDI C. DIER, WILLIAM W.
15    ERICSON, IVAN LIEBERBURG, DAVID L.
      MAHONEY, and JOHN MACPHEE,                      DEMAND FOR JURY TRIAL
16

17           Defendants,

18           and

19    ADAMAS PHARMACEUTICALS, INC.,
20
             Nominal Defendant.
21

22
                          VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT
23

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                                  Verified Shareholder Derivative Complaint
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 1
                                                INTRODUCTION
 2
            Plaintiff James Druzbik (“Plaintiff”), by his undersigned attorneys, derivatively and on behalf of
 3
     Nominal Defendant Adamas Pharmaceuticals, Inc. (“Adamas” or the “Company”), files this Verified
 4
     Shareholder Derivative Complaint against Individual Defendants Gregory T. Went, Alfred G.
 5
     Merriweather, Richard A. King, Michael F. Bigham, Martha J. Demski, Mardi C. Dier, William W.
 6
     Ericson, Ivan Lieberburg, David L. Mahoney, and John MacPhee (collectively, the “Individual
 7
     Defendants,” and together with Adamas, the “Defendants”) for breaches of their fiduciary duties as
 8
     directors and/or officers of Adamas, unjust enrichment, waste of corporate assets, and violations of
 9
     Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange Act”). As for Plaintiff’s complaint
10
     against the Individual Defendants, he alleges the following based upon personal knowledge as to his and
11
     his own acts, and information and belief as to all other matters, based upon, inter alia, the investigation
12
     conducted by and through his attorneys, which included, among other things, a review of the
13
     Defendants’ public documents, conference calls, and announcements made by Defendants, United States
14
     Securities and Exchange Commission (“SEC”) filings, wire and press releases published by and
15
     regarding Adamas, legal filings, news reports, securities analysts’ reports and advisories about the
16
     Company, and information readily obtainable on the Internet. Plaintiff believes that substantial
17
     evidentiary support will exist for the allegations set forth herein after a reasonable opportunity for
18
     discovery.
19
                                          NATURE OF THE ACTION
20
            1.       This is a shareholder derivative action that seeks to remedy wrongdoing committed by
21
     Adamas’ directors and officers from August 8, 2017 through September 30, 2019 (the “Relevant
22
     Period”).
23
            2.       Adamas is a commercial pharmaceutical company based in Emeryville, California, that
24
     discovers, develops, and commercializes medication aimed at treating neurological diseases. The
25
     Company’s flagship product is GOCOVRI (previously ADS-5102), an oral, extended-release
26
     formulation of amantadine, that was approved by the Food and Drug Administration (“FDA”) in August
27
     2017 for the treatment of levodopa-induced dyskinesia, commonly seen in patients with Parkinson’s
28
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 1
     disease. Amantadine is an antiviral medication, sold under different product brands, used to treat
 2
     influenza and Parkinson’s disease.
 3
               3.       As a commercial pharmaceutical company, an important measure of Adamas’
 4
     profitability is the extent to which the Company’s drugs are made accessible to patients through health
 5
     insurers and other payors. Because health insurers bear at least part of the cost of the drugs and
 6
     medications provided to the patients they insure, they have a strong incentive to make relatively cheap,
 7
     generic drugs more widely available to insured individuals rather than more expensive, brand name
 8
     drugs like GOCOVRI. Health insurers and other payors typically accomplish this by providing limited
 9
     or no coverage for more expensive drugs where a generic alternative exists, or by requiring patients to
10
     obtain authorization from a physician or take other steps before paying for a more expensive drug.
11
               4.       At the time that GOCOVRI became approved for marketing by the FDA, a generic drug
12
     approved to treat the same condition as GOCOVRI already existed on the market: immediate-release
13
     amantadine. As such, it should have been apparent to the Individual Defendants that health insurers and
14
     other payors would likely implement roadblocks to the widespread usage of GOCOVRI and; physicians
15
     would likely not prescribe GOCOVRI in place of generic amantadine unless GOCOVRI presented
16
     extremely significant clinical benefits beyond those presented by generic immediate-release amantadine.
17
     Indeed, not long after GOCOVRI entered the market, a number of large healthcare management
18
     companies issued coverage guidelines imposing onerous requirements on patients seeking to use
19
     GOCOVRI, such as requiring patients to try generic amantadine first, or to obtain prior approval from a
20
     doctor.
21
               5.       Nonetheless, the Individual Defendants personally made certain false and misleading
22
     statements and/or allowed certain of the Individual Defendants and the Company to make numerous
23
     statements in press releases and conference calls from the beginning of the Relevant Period until
24
     November 1, 2018, at least, assuring the investing public that GOCOVRI would not face significant
25
     impediments to its use, and that the impact of any impediments that payors did implement, such as
26
     limiting coverage of the drug or making its use contingent on patients meeting certain requirements,
27
     would be minimal. Throughout its commercial launch, the Company touted strong predictions for
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 1
     GOCOVRI’s market performance as a purportedly unique therapy that would and did obtain strong and
 2
     solid support from physicians as well as insurers.
 3
              6.       The truth emerged gradually over the course of several months, beginning on October 5,
 4
     2018, when a Bank of America/Merrill Lynch analyst issued a report indicating that patients had been
 5
     dropping out of GOCOVRI treatment at higher-than-expected rates, due to the cost and difficulties
 6
     imposed by payors.
 7
              7.       On this news, the Company’s stock price fell approximately 8%, from $19.35 per share at
 8
     close on October 4, 2018, to $17.83 per share at close on October 5, 2018.
 9
              8.       Soon after, the Company disclosed disappointing prescription rates for GOCOVRI in its
10
     quarterly earnings results issued on November 1, 2018, prompting a steep drop in the Company’s stock
11
     price of nearly 30%, from $16.97 per share at close on November 1, 2018, to $11.89 per share at close
12
     on November 2, 2018. A similar debacle occurred in the wake of a conference call held on March 4,
13
     2019, when certain of the Individual Defendants revealed that GOCOVRI prescriptions would continue
14
     to slow down, and refused to give any further insight as to GOCOVRI’s ability to attain a sizable market
15
     share. On this news, the price of the Company’s stock dropped by over 32%, from $12.15 per share at
16
     close on March 4, 2019, to $8.16 per share at close on March 5, 2019. These disclosures were followed
17
     by a slew of negative reports from analysts, many of whom downgraded their ratings of the Company’s
18
     stock.
19
              9.       Finally, after analysts at the Evaluate Group and Bank of America/Merrill Lynch
20
     published grim reports on GOCOVRI’s prospects on September 27, 2019 and September 30, 2019,
21
     respectively, the price of the Company’s stock underwent a precipitous six-day decline, from $7.05 per
22
     share at close on September 26, 2019, to $4.03 at close on October 3, 2019, a drop of over 42%.
23
              10.      During the Relevant Period, the Individual Defendants breached their fiduciary duties by
24
     personally making and/or causing the Company to make to the investing public a series of materially
25
     false and misleading statements regarding the Company’s business, operations, and prospects.
26
     Specifically, the Individual Defendants willfully or recklessly made and/or allowed certain of the
27
     Individual Defendants to make false and misleading statements to the investing public that failed to
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 1
     disclose, inter alia, that: (1) health insurers and other payors were by and large providing limited or no
 2
     coverage of GOCOVRI, or were imposing burdensome requirements that limited patients’ access to
 3
     GOCOVRI; (2) as payors began to indicate their positions on GOCOVRI, the number of physicians
 4
     prescribing GOCOVRI would decrease precipitously; (3) as a result of the foregoing, GOCOVRI’s
 5
     sales, market penetration, and market share would be severely impacted in the long run; and (4) the
 6
     Company failed to maintain internal controls. As a result of the foregoing, the Company’s public
 7
     statements were materially false and misleading at all relevant times.
 8
            11.     The Individual Defendants also breached their fiduciary duties by failing to correct and/or
 9
     causing the Company to fail to correct these false and misleading statements and omissions of material
10
     fact to the investing public, while three of the Individual Defendants engaged in improper insider sales,
11
     netting proceeds of approximately $280,869.
12
            12.     Additionally, in breach of their fiduciary duties, the Individual Defendants caused the
13
     Company to fail to maintain adequate internal controls.
14
            13.     In light of the Individual Defendants’ misconduct, which has subjected Adamas, its
15
     former Chief Executive Officer (“CEO”), and its former Chief Financial Officer (“CFO”) to being
16
     named as defendants in a federal securities fraud class action lawsuit pending in the United States
17
     District Court for the Northern District of California (the “Securities Class Action”), the need to
18
     undertake internal investigations, the need to implement adequate internal controls over its financial
19
     reporting, the losses from the waste of corporate assets, the losses due to the unjust enrichment of the
20
     Individual Defendants who were improperly over-compensated by the Company and/or who benefitted
21
     from the wrongdoing alleged herein, the Company will have to expend many millions of dollars.
22
            14.     In light of the breaches of fiduciary duty engaged in by the Individual Defendants, most
23
     of whom are the Company’s current directors, their collective engagement in fraud, the substantial
24
     likelihood of the directors’ liability in this derivative action and the former CEO’s and CFO’s liability in
25
     the Securities Class Action, their being beholden to each other, their longstanding business and personal
26
     relationships with each other, and their not being disinterested and/or independent directors, a majority
27

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 1
     of Adamas’ Board of Directors (the “Board”) cannot consider a demand to commence litigation against
 2
     themselves on behalf of the Company with the requisite level of disinterestedness and independence.
 3
                                            JURISDICTION AND VENUE
 4
             15.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because
 5
     Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act, 15 U.S.C. §
 6
     78n(a)(1) and Rule 14a-9 of the Exchange Act, 17 C.F.R. § 240.14a-9, and raise a federal question
 7
     pertaining to the claims made in the Securities Class Action based on violations of the Exchange Act.
 8
             16.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28
 9
     U.S.C. § 1367(a).
10
             17.     This derivative action is not a collusive action to confer jurisdiction on a court of the
11
     United States that it would not otherwise have.
12
             18.     The Court has personal jurisdiction over each of the Defendants because each Defendant
13
     is either a corporation incorporated in this District, or he or she is an individual who has minimum
14
     contacts with this District to justify the exercise of jurisdiction over them.
15
             19.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because a
16
     substantial portion of the transactions and wrongs complained of herein occurred in this District, and the
17
     Defendants have received substantial compensation in this District by engaging in numerous activities
18
     that had an effect in this District.
19
             20.     Venue is proper in this District because Adamas and the Individual Defendants have
20
     conducted business in this District, and Defendants’ actions have had an effect in this District.
21
                                                       PARTIES
22
             Plaintiff
23
             21.     Plaintiff is a current shareholder of Adamas common stock. Plaintiff has continuously
24
     held Adamas common stock at all relevant times.
25

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 1
            Nominal Defendant Adamas
 2
            22.     Adamas is a Delaware corporation with its principal executive offices at 1900 Powell
 3
     Street, Suite 1000, Emeryville, California 94608. Adamas’ shares trade on the Nasdaq Global Market
 4
     (“NASDAQ”) under the ticker symbol “ADMS.”
 5
            Defendant Went
 6
            23.     Defendant Gregory T. Went (“Went”) served as the Company’s CEO and Chairman from
 7
     the founding of the Company in 2000 until he resigned on September 11, 2019. According to the
 8
     Company’s Schedule 14A filed with the SEC on April 25, 2019 (the “2019 Proxy Statement”), as of
 9
     February 15, 2019, Defendant Went beneficially owned 1,497,198 shares of the Company’s common
10
     stock, which represented 5.2% of the Company’s outstanding shares of common stock on that date.
11
     Given that the price per share of the Company’s stock at the close of trading on February 15, 2019 was
12
     $10.53, Defendant Went owned approximately $15.7 million worth of Adamas stock.
13
            24.     For the fiscal year ended December 31, 2018, Defendant Went received $3,359,123 in
14
     compensation from the Company. This included $550,000 in salary, $260,200 in bonuses, $529,238 in
15
     stock awards, $2,013,363 in option awards, and $6,322 in all other compensation.
16
            25.     During the period of time when the Company materially misstated information to the
17
     investing public to keep the stock price inflated, and before the scheme was exposed, Defendant Went
18
     made the following sales of the Company’s common stock:
19

20                 Date               Number of Shares           Price              Proceeds
               March 21, 2018             4,541                 $25.75              $116,930
21
              December 14, 2017           6,319                  $7.99               $50,488
22

23   Thus, in total, before the fraud was exposed, he sold 10,860 Company shares on inside information, for

24   which he received approximately $167,418. His insider sales made with knowledge of material non-

25   public information before the material misstatements and omissions were exposed demonstrates his

26   motive in facilitating and participating in the scheme.

27          26.     The Company’s 2019 Proxy Statement stated the following about Defendant Went:

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 1          Dr. Went, age 55, has served as our Chief Executive Officer and Chairman of our Board
            of Directors since our inception in 2000. Previously, Dr. Went co-founded CuraGen
 2          Corporation in 1992, where he served as an Executive Vice President and director from
            1996 to 1999. Dr. Went also has served as a director of Angelica Therapeutics, Inc., a
 3
            biotechnology company, since 2006. Dr. Went holds a Ph.D. in Chemical Engineering
 4          from the University of California, Berkeley and a B.S. in Chemical Engineering from
            Carnegie Mellon University. We believe Dr. Went’s extensive knowledge of our
 5          company, the pharmaceutical industry, and our competitors qualifies him to serve on our
            Board of Directors.
 6
            Defendant Merriweather
 7
            27.      Defendant Alfred G. Merriweather (“Merriweather”) served as the Company’s CFO from
 8
     June 2017 until he retired on November 1, 2019. According to the 2019 Proxy Statement, as of February
 9
     15, 2019, Defendant Merriweather beneficially owned 67,942 shares of the Company’s common stock.
10
     Given that the price per share of the Company’s stock at the close of trading on February 15, 2019 was
11
     $10.53, Defendant Merriweather owned approximately $715,429 worth of Adamas stock.
12
            28.      For the fiscal year ended December 31, 2018, Defendant Merriweather received
13
     $1,637,050 in compensation from the Company. This included $420,000 in salary, $180,600 in bonuses,
14
     $214,903 in stock awards, $817,547 in option awards, and $4,000 in all other compensation.
15
            29.      During the period of time when the Company materially misstated information to the
16
     investing public to keep the stock price inflated, and before the scheme was exposed, Defendant
17
     Merriweather made the following sales of the Company’s common stock:
18

19
                    Date              Number of Shares          Price              Proceeds
20            September 21, 2018          1,665                $19.18              $31,934
                March 20, 2019             857                  $7.99               $6,894
21            September 20, 2019          1,584                 $6.91              $10,945
22
     Thus, in total, before the fraud was exposed, he sold 4,106 Company shares on inside information, for
23
     which he received approximately $49,726. His insider sales made with knowledge of material non-
24
     public information before the material misstatements and omissions were exposed demonstrates his
25
     motive in facilitating and participating in the scheme.
26
            30.      The Company’s 2019 Proxy Statement stated the following about Defendant
27
     Merriweather:
28
                                                        7
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 1
            Mr. Merriweather joined as our Chief Financial Officer in June 2017.
 2          Mr. Merriweather has held executive leadership roles at numerous companies in the life
            sciences industry throughout his career. Before coming to Adamas, he was Chief
 3
            Financial Officer at RainDance Technologies, Inc., a life science tools company, from
 4          November 2013 to February 2017, where he was responsible for the finance, information
            technology, human resources and general legal functions. Prior to RainDance, he served
 5          as Chief Financial Officer of Verinata Health, Inc., a prenatal laboratory testing company,
            from January 2012 to July 2013, where he was responsible for the finance and general
 6          legal functions, and as Senior Vice President and Chief Financial Officer of Celera
 7          Corporation, a diagnostic products and laboratory testing company, from December 2010
            until May 2011, where he was responsible for the finance and information technology
 8          functions. Mr. Merriweather has spent over 25 years in senior financial positions at
            several private and public life science companies, including Monogram Biosciences, Inc.
 9          and Laserscope. Mr. Merriweather received a Bachelor’s degree from the University of
            Cambridge in the United Kingdom.
10
            Defendant King
11
            31.      Defendant Richard A. King (“King”) served as the Company’s Chief Operating Officer
12
     (“COO”) from April 28, 2017 until he resigned on September 15, 2018. According to the 2019 Proxy
13
     Statement, as of February 15, 2019, Defendant King beneficially owned 81,260 shares of the Company’s
14
     common stock. Given that the price per share of the Company’s stock at the close of trading on February
15
     15, 2019 was $10.53, Defendant King owned approximately $855,667 worth of Adamas stock.
16
            32.      For the fiscal year ended December 31, 2018, Defendant King received $2,372,524 in
17
     compensation from the Company. This included $346,233 in salary, $138,203 in bonuses, $282,260 in
18
     stock awards, $1,073,794 in option awards, and $532,034 in all other compensation.
19
            33.      During the period of time when the Company materially misstated information to the
20
     investing public to keep the stock price inflated, and before the scheme was exposed, Defendant King
21
     made the following sale of the Company’s common stock:
22

23
                       Date          Number of Shares             Price               Proceeds
24                 June 21, 2018         2,501                   $25.48               $63,725

25
     His insider sale made with knowledge of material non-public information before the material
26
     misstatements and omissions were exposed demonstrates his motive in facilitating and participating in
27
     the scheme.
28
                                                       8
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 1
            34.       The Company’s Schedule 14A filed on April 26, 2018 (the “2018 Proxy Statement”)
 2
     stated the following about Defendant King:
 3
            Richard A. King. Mr. King joined as our Chief Operating Officer in April 2017.
 4          Mr. King has held executive leadership roles at numerous companies in the life sciences
            industry throughout his career. Most recently, from May 2016 to April 2017,
 5
            Mr. King was Chief Operating Officer at The Scripps Research Institute, where he was
 6          responsible for strategic planning, business development, finance, human resources,
            facilities, information technology and research services. He previously served as
 7          President and Chief Executive Officer of AcelRx Pharmaceuticals, Inc., a specialty
            pharmaceutical company developing new pain medications, from May 2010 to March
 8          2015, where he was responsible for overseeing all aspects of AcelRx’s business. Prior to
 9          AcelRx, he was President, Chief Operating Officer and General Manager of the
            biotechnology company Tercica, Inc. (later sold to the Ipsen Group), where he was
10          instrumental in the commercial launch of Dysport® (abobotulinumtoxinA) and Increlex™
            (rhlGF-1). He also previously served as Executive Vice President of commercial
11          operations at Kos Pharmaceuticals, Inc., where he oversaw the growth of
            Niaspan® (niacin extended-release) and the launch of Advicor® (niacin extended-
12          release/lovastatin). He was Senior Vice President of commercial operations at Solvay and
13          Vice President of commercial operations at Unimed, where he launched
            AndroGel® (testosterone gel). Earlier in his career, he held positions of increasing
14          responsibility at SmithKline Beecham and Lederle Laboratories. Mr. King received a
            B.Sc. in chemical engineering from the University of Surrey in the U.K. and an M.B.A.
15          from the Manchester Business School in the U.K.
16          Defendant Bigham

17          35.       Defendant Michael F. Bigham (“Bigham”) has served as a Company director since

18   September 2006. He also serves as a member of the Company’s Audit Committee and Nominating and

19   Corporate Governance Committee. According to the 2019 Proxy Statement, as of February 15, 2019,

20   Defendant Bigham beneficially owned 35,000 shares of the Company’s common stock. Given that the

21   price per share of the Company’s stock at the close of trading on February 15, 2019 was $10.53,

22   Defendant Bigham owned approximately $368,550 worth of Adamas stock.

23          36.       For the fiscal year ended December 31, 2018, Defendant Bigham received $220,985 in

24   compensation from the Company. This included $52,750 in fees earned or paid in cash and $168,235 in

25   option awards.

26          37.       The Company’s 2019 Proxy Statement stated the following about Defendant Bigham:

27          Mr. Bigham, age 61, has served as a member of our Board of Directors since September
28          2016. Mr. Bigham was appointed Chief Executive Officer and Chairman of the board of

                                                        9
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 1          directors of Paratek Pharmaceuticals, Inc. in October 2014. Mr. Bigham has more than 25
            years of senior leadership experience in the biopharmaceutical industry. From 2003 to
 2          2013, he was a General Partner at Abingworth LLP, a leading international investment
            group dedicated to life sciences and healthcare. From 2014 to 2018, he served as an
 3
            Executive Partner at Abingworth LLP. He currently serves on the boards of Paratek
 4          Pharmaceuticals and Adamas Pharmaceuticals, and in the past has held several
            directorships, including at Avila Therapeutics (where he was also the founding Chairman
 5          and CEO), Magellan Biosciences, Portola Pharmaceuticals, Supernus Pharmaceuticals,
            Inmediata (Chairman) and Valeritas. Mr. Bigham was formerly Vice Chairman of Corixa
 6          Corporation, a publicly-traded biotechnology company, and was President and Chief
 7          Executive of Coulter Pharmaceuticals, a publicly-traded oncology company, until it
            merged into Corixa. Previously, he was an early employee at Gilead Sciences where he
 8          served in various capacities, including Executive Vice President of Operations and Chief
            Financial Officer. Before joining Gilead, Mr. Bigham was a Partner at Hambrecht &
 9          Quist where he became Co-Head of Healthcare Investment Banking. Mr. Bigham
            received his B.S. from the University of Virginia and qualified as a C.P.A. before
10          completing his M.B.A. at Stanford University. We believe Mr. Bigham’s extensive
11          experience on the boards of and in management positions with biopharmaceutical
            companies, including publicly-traded companies, qualifies him to serve on our Board of
12          Directors.

13          Defendant Demski

14          38.       Defendant Martha J. Demski (“Demski”) has served as a Company director since March

15   2014. She also serves as the Chair of the Company’s Audit Committee, and as a member of the

16   Compensation Committee. According to the 2019 Proxy Statement, as of February 15, 2019, Defendant

17   Demski beneficially owned 78,000 shares of the Company’s common stock. Given that the price per

18   share of the Company’s stock at the close of trading on February 15, 2019 was $10.53, Defendant

19   Demski owned approximately $821,340 worth of Adamas stock.

20          39.       For the fiscal year ended December 31, 2018, Defendant Demski received $232,235 in

21   compensation from the Company. This included $64,000 in fees earned or paid in cash and $168,235 in

22   option awards.

23          40.       The Company’s 2019 Proxy Statement stated the following about Defendant Demski:

24          Ms. Demski, age 66, has served as a member of our Board of Directors since March
            2014. From August 2011 to May 2017, Ms. Demski served as Senior Vice President and
25          Chief Financial Officer of Ajinomoto Althea, Inc. (formerly Althea Technologies, Inc.), a
26          fully-integrated contract development and manufacturing organization. From July 2008 to
            December 2010, Ms. Demski served as the Interim Chief Operating Officer and Chief
27          Financial Officer of the Sidney Kimmel Cancer Center (SKCC), a non-profit corporation
            that was engaged in biomedical research prior to voluntarily filing for Chapter 11
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 1          bankruptcy in 2009. Previously, Ms. Demski served as Vice President and Chief
            Financial Officer of Vical Incorporated, a publicly traded biotech company from
 2          December 1988 to June 2004. Ms. Demski currently serves as Chair of the board of
            directors of Chimerix, Inc., a publicly traded biotech company. Ms. Demski also serves
 3
            as a member of the board of directors of Equillium, Inc., a publicly traded biotech
 4          company where she serves as chair of the audit committee and a member of the
            compensation committee. Ms. Demski is a National Association of Corporate Directors
 5          Board Governance Fellow and received the Director of the Year in Corporate
            Governance from the Corporate Directors Forum in 2017. Additionally, Ms. Demski has
 6          over 13 years of banking experience with Bank of America. Ms. Demski earned a B.A.
 7          from Michigan State University and M.B.A. from The University of Chicago Booth
            School of Business with concentrations in accounting and finance. We believe
 8          Ms. Demski’s more than 30 years’ experience in the fields of finance and biotechnology,
            as well as her experience as a chief financial officer of a publicly traded company and her
 9          experience in conducting financing transactions qualifies her to serve on our Board of
            Directors.
10
            Defendant Dier
11
            41.       Defendant Mardi C. Dier (“Dier”) has served as a Company director since October 2017.
12
     She also serves as a member of the Company’s Audit Committee. According to the 2019 Proxy
13
     Statement, as of February 15, 2019, Defendant Dier beneficially owned 10,000 shares of the Company’s
14
     common stock. Given that the price per share of the Company’s stock at the close of trading on February
15
     15, 2019 was $10.53, Defendant Dier owned approximately $105,300 worth of Adamas stock.
16
            42.       For the fiscal year ended December 31, 2018, Defendant Dier received $216,360 in
17
     compensation from the Company. This included $48,125 in fees earned or paid in cash and $168,235 in
18
     option awards.
19
            43.       The Company’s 2019 Proxy Statement stated the following about Defendant Dier:
20
21          Ms. Dier, age 55, has served as a member of our Board of Directors since October 2017.
            Ms. Dier has served as Executive Vice President and Chief Financial Officer of Portola
22          Pharmaceuticals since November 2013 after joining the company in August 2006. At
            Portola, Ms. Dier has overseen the development of the accounting, finance, global supply
23          chain, investor relations, communications, IT and facilities functions, and has led the
            raising of over $1.25 billion in capital. Previously, she served as Vice President of
24          Investor Relations at Chiron Corporation from 2003 until its acquisition by Novartis
25          Pharmaceuticals in April 2006. Prior to joining Chiron, she served as a Director in the
            West Coast investment banking practice at Prudential Securities, where she focused on
26          biotechnology and other life sciences companies. Ms. Dier was previously at KPMG LLP
            in the audit department. She holds a B.S. in biology from Stanford University and an
27          M.B.A. from The Anderson School at the University of California, Los Angeles. In 2013,
            Ms. Dier was recognized as one of the most influential Bay Area business women by the
28
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 1          San Francisco Business Times and was a finalist for its Bay Area CFO of the Year
            Award. We believe Ms. Dier’s more than 25 years’ financial management experience in
 2          the biotechnology industry, as well as her experience as a chief financial officer of a
            publicly traded company, qualifies her to serve on our Board of Directors.
 3
            Defendant Ericson
 4
            44.       Defendant William W. Ericson (“Ericson”) has served as a Company director since 2005.
 5
     He also serves as the Chair of the Company’s Nominating and Corporate Governance Committee, and as
 6
     a member of the Compensation Committee. According to the 2019 Proxy Statement, as of February 15,
 7
     2019, Defendant Ericson beneficially owned 4,698,796 shares of the Company’s common stock, which
 8
     represented 17.1% of the Company’s outstanding shares of common stock on that date. Given that the
 9
     price per share of the Company’s stock at the close of trading on February 15, 2019 was $10.53,
10
     Defendant Ericson owned approximately $49.4 million worth of Adamas stock.
11
            45.       For the fiscal year ended December 31, 2018, Defendant Ericson received $222,735 in
12
     compensation from the Company. This included $54,500 in fees earned or paid in cash and $168,235 in
13
     option awards.
14
            46.       The Company’s 2019 Proxy Statement stated the following about Defendant Ericson:
15

16          Mr. Ericson, age 60, has served as a member of our Board of Directors since 2005.
            Mr. Ericson has been a General Partner at Mohr Davidow Ventures, or MDV, a venture
17          capital firm, since 2000, and has served as Managing Partner since 2008. Prior to joining
            MDV, Mr. Ericson founded and operated Venture Law Group LLP’s Seattle office from
18          1996 to 2000. Mr. Ericson currently serves as a member of the board of directors of
19          Pacific Biosciences of California, Inc., a publicly traded gene sequencing company,
            Rocket Fuel Inc., a publicly traded digital advertising company, Northwestern University
20          School of Law, and a number of MDV’s privately held portfolio companies. Mr. Ericson
            holds a B.S.F.S. from the School of Foreign Service at Georgetown University and a J.D.
21          from Northwestern University School of Law. We believe Mr. Ericson’s extensive
            experience in finance and service as a board member of public companies in the
22          technology and life sciences industries and his training as a securities lawyer qualifies
23          him to serve on our Board of Directors.
            Defendant Lieberburg
24
            47.       Defendant Ivan Lieberburg (“Lieberburg”) has served as a Company director since 2004.
25
     According to the 2019 Proxy Statement, as of February 15, 2019, Defendant Lieberburg beneficially
26
     owned 191,000 shares of the Company’s common stock. Given that the price per share of the
27

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 1
     Company’s stock at the close of trading on February 15, 2019 was $10.53, Defendant Lieberburg owned
 2
     approximately $2.01 million worth of Adamas stock.
 3
            48.       For the fiscal year ended December 31, 2018, Defendant Lieberburg received $206,985
 4
     in compensation from the Company. This included $38,750 in fees earned or paid in cash and $168,235
 5
     in option awards.
 6
            49.       The Company’s 2019 Proxy Statement stated the following about Defendant Lieberburg:
 7
            Dr. Lieberburg, age 69, has served as a member of our Board of Directors since 2004.
 8          Dr. Lieberburg has been a member of the Tavistock Group, a private equity firm, since
            2009, and a managing director of Boxer Capital, since 2017, where he concentrates on
 9
            health care and life sciences investment opportunities. From 1987 to 2009,
10          Dr. Lieberburg was employed by Elan Pharmaceuticals, Inc. (formerly Athena
            Neurosciences, Inc.), where his most recent roles were as Executive Vice President,
11          Corporate Office of Technology and Chief Medical Officer. Dr. Lieberburg holds an A.B.
            in Biology from Cornell University, a Ph.D. in Neurobiology from The Rockefeller
12          University, and an M.D. from the University of Miami Leonard M. Miller School of
13          Medicine. Dr. Lieberburg is board certified in internal medicine and
            endocrinology/metabolism. We believe Dr. Lieberburg’s executive experience in the life
14          sciences industry and his medical training qualifies him to serve on our Board of
            Directors.
15
            Defendant Mahoney
16
            50.       Defendant David L. Mahoney (“Mahoney”) has served as a Company director since
17
     2009, and as the Chairman of the Board since September 11, 2019. He also serves as the Chair of the
18
     Company’s Compensation Committee. According to the 2019 Proxy Statement, as of February 15, 2019,
19
     Defendant Mahoney beneficially owned 196,781 shares of the Company’s common stock. Given that
20
     the price per share of the Company’s stock at the close of trading on February 15, 2019 was $10.53,
21
     Defendant Mahoney owned approximately $2.07 million worth of Adamas stock.
22
            51.       For the fiscal year ended December 31, 2018, Defendant Mahoney received $240,610 in
23
     compensation from the Company. This included $72,375 in fees earned or paid in cash and $168,235 in
24
     option awards.
25
            52.       The Company’s 2019 Proxy Statement stated the following about Defendant Mahoney:
26
            Mr. Mahoney, age 64, has served as a member of our Board of Directors since 2009, and
27          is currently the Lead Independent Director and chair of the Compensation Committee.
28          Mr. Mahoney has served on the board of directors of Symantec Corporation, a publicly-

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 1          traded software technology company since 2003, including as current chair of the
            Compensation and as former chair of the Nominating and Governance Committees.
 2          Mr. Mahoney also served as a member of the Audit Committee of Symantec from 2003
            to 2011. Mr. Mahoney has served on the board of directors of Corcept Therapeutics
 3
            Incorporated, a pharmaceutical company since 2004, including as a member of the Audit
 4          and as a chair of the Nominating and Governance Committees. He also serves on the
            boards of directors of San Francisco Museum of Modern Art, Mount Holyoke College
 5          and Mercy Corps, and is a Trustee of the Schwab/Laudus Family of Funds. From 1999 to
            2001, Mr. Mahoney served as co-CEO of McKesson HBOC, Inc., a healthcare supply
 6          management and information technology company and as CEO of McKesson LLC, a
 7          healthcare management and connectivity company. He joined McKesson Corporation in
            1990 as Vice President for Strategic Planning. Prior to joining McKesson, Mr. Mahoney
 8          was a principal with McKinsey & Company, a management consulting firm, where he
            worked from 1981 to 1990. Mr. Mahoney holds a B.A. from Princeton University and an
 9          M.B.A. from Harvard University. We believe Mr. Mahoney’s extensive experience in
            pharmaceutical distribution, fiscal management, and in operating and advising
10          technology companies qualifies him to serve on our Board of Directors.
11          Defendant MacPhee
12          53.       Defendant John MacPhee (“MacPhee”) has served as a Company director since May
13   2013. According to the 2019 Proxy Statement, as of February 15, 2019, Defendant MacPhee beneficially
14   owned 279,600 shares of the Company’s common stock, which represented 1% of the Company’s
15   outstanding shares of common stock on that date. Given that the price per share of the Company’s stock
16   at the close of trading on February 15, 2019 was $10.53, Defendant MacPhee owned approximately
17   $2.94 million worth of Adamas stock.
18          54.       For the fiscal year ended December 31, 2018, Defendant MacPhee received $206,985 in
19   compensation from the Company. This included $38,750 in fees earned or paid in cash and $168,235 in
20   option awards.
21          55.       The Company’s 2019 Proxy Statement stated the following about Defendant MacPhee:
22
            Mr. MacPhee, age 51, has served as a member of our Board of Directors since May 2013
23          and provided consulting services to us from March 2011 to May 2013, and from February
            2016 to December 2016. Since 2011, Mr. MacPhee has served as the Executive Director
24          and CEO of The Jed Foundation, a non-profit organization. From 2005 to 2011,
            Mr. MacPhee served as Executive Vice President of Par Pharmaceutical, Inc. and
25          President of Par’s Strativa Pharmaceuticals division, where he oversaw commercial
26          operations, clinical development, medical affairs, alliance management, and business
            development. Previously, Mr. MacPhee worked at Forest Laboratories, Inc., where he led
27          the launches of Celexa, Lexapro, and Namenda. Mr. MacPhee also serves as a board
            member for Blackthorn Therapeutics, a privately-held pharmaceutical company.
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 1          Mr. MacPhee holds a B.A. from Columbia College, an M.B.A. from New York
            University, and an M.P.H. from Columbia University. We believe Mr. MacPhee’s
 2          extensive experience building successful specialty pharmaceutical companies and
            commercializing drug products qualifies him to serve on our Board of Directors.
 3
                        FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS
 4
            56.     By reason of their positions as officers, directors, and/or fiduciaries of Adamas and
 5
     because of their ability to control the business and corporate affairs of Adamas, the Individual
 6
     Defendants owed Adamas and its shareholders fiduciary obligations of trust, loyalty, good faith, and due
 7
     care, and were and are required to use their utmost ability to control and manage Adamas in a fair, just,
 8
     honest, and equitable manner. The Individual Defendants were and are required to act in furtherance of
 9
     the best interests of Adamas and its shareholders so as to benefit all shareholders equally.
10
            57.     Each director and officer of the Company owes to Adamas and its shareholders the
11
     fiduciary duty to exercise good faith and diligence in the administration of the Company and in the use
12
     and preservation of its property and assets and the highest obligations of fair dealing.
13
            58.     The Individual Defendants, because of their positions of control and authority as directors
14
     and/or officers of Adamas, were able to and did, directly and/or indirectly, exercise control over the
15
     wrongful acts complained of herein.
16
            59.     To discharge their duties, the officers and directors of Adamas were required to exercise
17
     reasonable and prudent supervision over the management, policies, controls, and operations of the
18
     Company.
19
            60.     Each Individual Defendant, by virtue of his or her position as a director and/or officer,
20
     owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good faith, and the
21
     exercise of due care and diligence in the management and administration of the affairs of the Company,
22
     as well as in the use and preservation of its property and assets. The conduct of the Individual
23
     Defendants complained of herein involves a knowing and culpable violation of their obligations as
24
     directors and officers of Adamas, the absence of good faith on their part, or a reckless disregard for their
25
     duties to the Company and its shareholders that the Individual Defendants were aware or should have
26
     been aware posed a risk of serious injury to the Company. The conduct of the Individual Defendants
27

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 1
     who were also officers and directors of the Company has been ratified by the remaining Individual
 2
     Defendants who collectively comprised Adamas’ Board at all relevant times.
 3
               61.    As senior executive officers and directors of a publicly-traded company whose common
 4
     stock was registered with the SEC pursuant to the Exchange Act and traded on NASDAQ, the Individual
 5
     Defendants had a duty to prevent and not to effect the dissemination of inaccurate and untruthful
 6
     information with respect to the Company’s financial condition, performance, growth, operations,
 7
     financial statements, business, products, management, earnings, internal controls, and present and future
 8
     business prospects, and had a duty to cause the Company to disclose omissions of material fact in its
 9
     regulatory filings with the SEC all those facts described in this Complaint that it failed to disclose, so
10
     that the market price of the Company’s common stock would be based upon truthful and accurate
11
     information.
12
               62.    To discharge their duties, the officers and directors of Adamas were required to exercise
13
     reasonable and prudent supervision over the management, policies, practices, and internal controls of the
14
     Company. By virtue of such duties, the officers and directors of Adamas were required to, among other
15
     things:
16
                      (a)     ensure that the Company was operated in a diligent, honest, and prudent manner
17
               in accordance with the laws and regulations of Delaware, California, and the United States, and
18
               pursuant to Adamas’ own Code of Business Conduct and Ethics (the “Code of Conduct”);
19
                      (b)     conduct the affairs of the Company in an efficient, business-like manner so as to
20
               make it possible to provide the highest quality performance of its business, to avoid wasting the
21
               Company’s assets, and to maximize the value of the Company’s stock;
22
                      (c)     remain informed as to how Adamas conducted its operations, and, upon receipt of
23
               notice or information of imprudent or unsound conditions or practices, to make reasonable
24
               inquiry in connection therewith, and to take steps to correct such conditions or practices;
25
                      (d)     establish and maintain systematic and accurate records and reports of the business
26
               and internal affairs of Adamas and procedures for the reporting of the business and internal
27

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 1
            affairs to the Board and to periodically investigate, or cause independent investigation to be
 2
            made of, said reports and records;
 3
                     (e)    maintain and implement an adequate and functioning system of internal legal,
 4
            financial, and management controls, such that Adamas’ operations would comply with all
 5
            applicable laws and Adamas’ financial statements and regulatory filings filed with the SEC and
 6
            disseminated to the public and the Company’s shareholders would be accurate;
 7
                     (f)    exercise reasonable control and supervision over the public statements made by
 8
            the Company’s officers and employees and any other reports or information that the Company
 9
            was required by law to disseminate;
10
                     (g)    refrain from unduly benefiting themselves and other Company insiders at the
11
            expense of the Company; and
12
                     (h)    examine and evaluate any reports of examinations, audits, or other financial
13
            information concerning the financial affairs of the Company and to make full and accurate
14
            disclosure of all material facts concerning, inter alia, each of the subjects and duties set forth
15
            above.
16
            63.      Each of the Individual Defendants further owed to Adamas and the shareholders the duty
17
     of loyalty requiring that each favor Adamas’ interest and that of its shareholders over their own while
18
     conducting the affairs of the Company and refrain from using their position, influence or knowledge of
19
     the affairs of the Company to gain personal advantage.
20
            64.      At all times relevant hereto, the Individual Defendants were the agents of each other and
21
     of Adamas and were at all times acting within the course and scope of such agency.
22
            65.      Because of their advisory, executive, managerial, and directorial positions with Adamas,
23
     each of the Individual Defendants had access to adverse, non-public information about the Company.
24
            66.      The Individual Defendants, because of their positions of control and authority, were able
25
     to and did, directly or indirectly, exercise control over the wrongful acts complained of herein, as well as
26
     the contents of the various public statements issued by Adamas.
27

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 1
                     CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION
 2
               67.    In committing the wrongful acts alleged herein, the Individual Defendants have pursued,
 3
     or joined in the pursuit of, a common course of conduct, and have acted in concert with and conspired
 4
     with one another in furtherance of their wrongdoing. The Individual Defendants caused the Company to
 5
     conceal the true facts as alleged herein. The Individual Defendants further aided and abetted and/or
 6
     assisted each other in breaching their respective duties.
 7
               68.    The purpose and effect of the conspiracy, common enterprise, and/or common course of
 8
     conduct was, among other things, to facilitate and disguise the Individual Defendants’ violations of law,
 9
     including breaches of fiduciary duty, unjust enrichment, and waste of corporate assets.
10
               69.    The Individual Defendants accomplished their conspiracy, common enterprise, and/or
11
     common course of conduct by causing the Company purposefully, recklessly, or negligently to conceal
12
     material facts, fail to correct such misrepresentations, and violate applicable laws. In furtherance of this
13
     plan, conspiracy, and course of conduct, the Individual Defendants collectively and individually took the
14
     actions set forth herein. Because the actions described herein occurred under the authority of the Board,
15
     each of the Individual Defendants, who are directors of Adamas, was a direct, necessary, and substantial
16
     participant in the conspiracy, common enterprise, and/or common course of conduct complained of
17
     herein.
18
               70.    Each of the Individual Defendants aided and abetted and rendered substantial assistance
19
     in the wrongs complained of herein. In taking such actions to substantially assist the commission of the
20
     wrongdoing complained of herein, each of the Individual Defendants acted with actual or constructive
21
     knowledge of the primary wrongdoing, either took direct part in, or substantially assisted the
22
     accomplishment of that wrongdoing, and was or should have been aware of his or her overall
23
     contribution to and furtherance of the wrongdoing.
24
               71.    At all times relevant hereto, each of the Individual Defendants was the agent of each of
25
     the other Individual Defendants and of Adamas and was at all times acting within the course and scope
26
     of such agency.
27

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 1
                                       ADAMAS’ CODE OF CONDUCT
 2
            72.    Adamas’ Code of Conduct states, “[w]e expect every employee, officer and director to
 3
     read and understand the Code and its application to the performance of his or her business
 4
     responsibilities. References in the Code to employees are intended to cover officers and, as applicable,
 5
     directors.”
 6
            73.    In a section titled, “Honest and Ethical Conduct,” the Code of Conduct states the
 7
     following:
 8
            It is the policy of the Company to promote high standards of integrity by conducting our
 9          affairs in an honest and ethical manner. The integrity and reputation of the Company
            depends on the honesty, fairness and integrity brought to the job by each person
10
            associated with us. Unyielding personal integrity is the foundation of corporate integrity.
11

12          74.    In a section titled, “Legal Compliance,” the Code of Conduct states the following:

13          Obeying the law, both in letter and in spirit, is the foundation of this Code. Our success
            depends upon each employee operating within legal guidelines and cooperating with
14          local, national and international authorities. We expect employees to understand the legal
15          and regulatory requirements applicable to their business units and areas of responsibility.
            We hold periodic training sessions to ensure that all employees comply with the relevant
16          laws, rules and regulations associated with their employment, including laws prohibiting
            insider trading (which are discussed in further detail in Section 3 below). While we do
17          not expect you to memorize every detail of these laws, rules and regulations, we want
            you to be able to determine when to seek advice from others. If you do have a question in
18          the area of legal compliance, it is important that you not hesitate to seek answers from
19          your supervisor, the Legal and Healthcare Compliance Department, or the Chief
            Compliance Officer (CCO). The Board has appointed the General Counsel as
20          Compliance Officer, who is responsible for administering this Code. Our Compliance
            Officer may be reached for purposes of this policy by email at
21          compliance@adamaspharma.com.
22          Disregard of the law will not be tolerated. Violation of domestic or foreign laws, rules
23          and regulations may subject an individual, as well as the Company, to civil and/or
            criminal penalties. You should be aware that conduct and records, including emails, are
24          subject to internal and external audits and to discovery by third parties in the event of a
            government investigation or civil litigation. It is in everyone’s best interests to know and
25          comply with our legal obligations.
26
            75.    In a section titled, “Insider Trading,” the Code of Conduct states the following:
27

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 1          Employees who have access to confidential (or “inside”) information are not permitted to
            use or share that information for stock trading purposes or for any other purpose except to
 2          conduct our business. All non-public information about the Company or about companies
            with which we do business is considered confidential information. To use material non-
 3
            public information in connection with buying or selling securities, including “tipping”
 4          others who might make an investment decision on the basis of this information, is not
            only unethical, it is illegal. Employees must exercise the utmost care when handling
 5          material inside information. Please refer to the Company’s Insider Trading, Window, and
            Pre-Clearance Policy for more detailed information.
 6

 7          76.       In a section titled, “Maintenance of Corporate Books, Records, Documents and Accounts;
 8   Financial Integrity; Public Reporting,” the Code of Conduct states the following:
 9
            The integrity of our records and public disclosure depends upon the validity, accuracy
10          and completeness of the information supporting the entries to our books of account.
            Therefore, our corporate and business records should be completed accurately and
11          honestly. The making of false or misleading entries, whether they relate to financial
            results or test results, is strictly prohibited. Our records serve as a basis for managing our
12          business and are important in meeting our obligations to customers, suppliers, creditors,
13          employees and others with whom we do business. As a result, it is important that our
            books, records and accounts accurately and fairly reflect, in reasonable detail, our assets,
14          liabilities, revenues, costs and expenses, as well as all transactions and changes in assets
            and liabilities. We require that:
15
                  •   no entry be made in our books and records that intentionally hides or disguises the
16
                      nature of any transaction or of any of our liabilities or misclassifies any
17                    transactions as to accounts or accounting periods;

18                •   transactions be supported by appropriate documentation;
19                •   the terms of sales and other commercial transactions be reflected accurately in the
20                    documentation for those transactions and all such documentation be reflected
                      accurately in our books and records;
21
                  •   employees comply with our system of internal controls; and
22
                  •   no cash or other assets be maintained for any purpose in any unrecorded or “off-
23
                      the-books” fund.
24

25          77.       The Code of Conduct’s “Maintenance of Corporate Books, Records, Documents and

26   Accounts; Financial Integrity; Public Reporting” section further states the following:

27          Our accounting records are also relied upon to produce reports for our management,
            stockholders and creditors, as well as for governmental agencies. In particular, we rely
28
                                                        20
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 1   upon our accounting and other business and corporate records in preparing the periodic
     and current reports that we file with the SEC. Securities laws require that these reports
 2   provide full, fair, accurate, timely and understandable disclosure and fairly present our
     financial condition and results of operations. Employees who collect, provide or analyze
 3
     information for or otherwise contribute in any way in preparing or verifying these reports
 4   should strive to ensure that our financial disclosure is accurate and transparent and that
     our reports contain all of the information about the Company that would be important to
 5   enable stockholders and potential investors to assess the soundness and risks of our
     business and finances and the quality and integrity of our accounting and disclosures. In
 6   addition:
 7
           •   no employee may take or authorize any action that would intentionally cause our
 8             financial records or financial disclosure to fail to comply with generally accepted
               accounting principles, the rules and regulations of the SEC or other applicable
 9             laws, rules and regulations;
10         •   all employees must cooperate fully with our Finance and Accounting Department,
11             as well as our independent public accountants and counsel, respond to their
               questions with candor and provide them with complete and accurate information
12             to help ensure that our books and records, as well as our reports filed with the
               SEC, are accurate and complete; and
13
           •   no employee should knowingly make (or cause or encourage any other person to
14
               make) any false or misleading statement in any of our reports filed with the SEC
15             or knowingly omit (or cause or encourage any other person to omit) any
               information necessary to make the disclosure in any of our reports accurate in all
16             material respects.

17   Any employee who becomes aware of any departure from these standards has a
     responsibility to report his or her knowledge promptly to a supervisor, the CCO, the
18
     Audit Committee of the Board or one of the other Corporate Compliance resources
19   described in Section 16 or in accordance with the provisions of the Company’s
     Whistleblower Policy on reporting complaints regarding accounting and auditing matters.
20
21   78.       In a section titled, “Fair Dealing,” the Code of Conduct states the following:

22   We strive to outperform our competition fairly and honestly. Advantages over our
     competitors are to be obtained through superior performance of our products and
23
     services, not through unethical or illegal business practices. Acquiring proprietary
24   information from others through improper means, possessing trade secret information
     that was improperly obtained, or inducing improper disclosure of confidential
25   information from past or present employees of other companies is prohibited, even if
     motivated by an intention to advance our interests. If information is obtained by mistake
26   that may constitute a trade secret or other confidential information of another business, or
27   if you have any questions about the legality of proposed information gathering, you must
     consult your supervisor or the CCO, as further described in Section 16.
28
                                                  21
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 1          You are expected to deal fairly with our customers, suppliers, employees and anyone else
            with whom you have contact in the course of performing your job. Be aware that the
 2          Federal Trade Commission Act provides that “unfair methods of competition in or
            affecting commerce, and unfair or deceptive acts or practices in or affecting commerce,
 3
            are hereby declared unlawful.” It is a violation of the Act to engage in deceptive, unfair
 4          or unethical practices and to make misrepresentations in connection with sales activities.

 5          Employees involved in procurement have a special responsibility to adhere to principles
            of fair competition in the purchase of products and services by selecting suppliers based
 6          exclusively on normal commercial considerations, such as quality, cost, availability,
 7          service and reputation, and not on the receipt of special favors.

 8          79.     In a section titled, “Protection and Proper Use of Company Assets,” the Code of Conduct
 9   states the following, in relevant part:
10
            All employees are expected to protect our assets and ensure their efficient use. Theft,
11          carelessness and waste have a direct impact on our profitability. Our property, such as
            office supplies, computer equipment, and buildings, are expected to be used only for
12          legitimate business purposes, although incidental personal use may be permitted. You
13          may not, however, use our corporate name, any brand name or trademark owned or
            associated with the Company or any letterhead stationery for any personal purpose.
14

15          80.     The Individual Defendants violated the Code of Conduct by engaging in or permitting the

16   scheme to issue materially false and misleading statements to the public and to facilitate and disguise the

17   Individual Defendants’ violations of law, including breaches of fiduciary duty, waste of corporate assets,

18   unjust enrichment, and violations of Section 14(a) of the Exchange Act, and failing to report the same.

19   Moreover, three of the Individual Defendants violated the Code of Conduct by engaging in insider

20   trading. Also in violation of the Code of Conduct, the Individual Defendants failed to maintain the

21   accuracy of Company records and reports, comply with laws and regulations, and compete in an honest

22   and ethical manner.

23                               INDIVIDUAL DEFENDANTS’ MISCONDUCT

24          Background

25          81.     Adamas is a pharmaceutical company specializing in developing treatments for a range of

26   central nervous system disorders, including Alzheimer’s disease and Parkinson’s disease.

27          82.     The Company’s flagship product is GOCOVRI, an extended-release formulation of the

28   drug amantadine, previously known as ADS-5102. GOCOVRI was approved by the FDA on August 24,

                                                        22
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 1
     2017, and is “indicated,” or approved for use, for the treatment of Parkinson’s disease. Specifically,
 2
     GOCOVRI treats dyskinesia, or involuntary muscle spasms, in patients undergoing levodopa therapy,
 3
     which replaces dopamine lost due to the progression of Parkinson’s disease.
 4
            83.     In order to successfully market and sell their products, pharmaceutical companies, such
 5
     as Adamas, have to contend with health insurers and other payors, who seek to minimize their spending
 6
     by employing a variety of cost containment strategies. The main strategy payors use to reduce costs is to
 7
     price pharmaceutical drugs by tier. Typically, a payor accomplishes this by providing different co-pay
 8
     amounts for drugs in their formulary, the list of all drugs that a payor offers coverage for. A typical
 9
     tiered copay system can consist of around five tiers, with generic drugs priced at $1 to $3 at the lowest
10
     tier, and newer, brand name drugs priced at $150 or more at the higher tiers. Some payors may exclude
11
     highly priced, brand name drugs from their formularies altogether, so long as generic alternatives exist.
12
            84.     Two other significant cost containment strategies for payors are “prior authorization” and
13
     “step therapy.” If a payor requires prior authorization for a specific drug, the payor will not provide
14
     coverage for the drug unless a doctor requests approval to prescribe that drug to a given patient. Such a
15
     request may include a description of the patient’s specific circumstances and why the drug is medically
16
     necessary for that patient. Step therapy is a stricter form of prior authorization that requires patients to
17
     begin treatment with relatively cheap, cost-effective drugs, and to progress to the use of more expensive
18
     or risky drugs only if medically necessary.
19
            85.     Shortly after GOCOVRI received FDA approval in 2017, payors began limiting their
20
     coverage of GOCOVRI, and requiring patients seeking to use the drug to obtain prior authorization or
21
     go through step therapy before receiving GOCOVRI.
22
            86.     For instance, on October 10, 2017, Centene Corporation, a health management company,
23
     issued coverage guidelines requiring patients seeking to use GOCOVRI to first take immediate-release
24
     amantadine, an inexpensive generic alternative to GOCOVRI. Centene Corporation’s guidelines stated
25
     that it would cover treatment with GOCOVRI only if generic amantadine failed to resolve a patient’s
26
     symptoms, or the patient suffered a significant adverse reaction to generic amantadine.
27

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 1
            87.       In January 2018, Prime Therapeutics, a large pharmaceutical benefits management
 2
     company associated with BlueCross BlueShield, and covering over 28 million patients, issued coverage
 3
     guidelines requiring doctors to obtain prior authorization before prescribing GOCOVRI, and requiring
 4
     patients to use generic amantadine before progressing to GOCOVRI.
 5
            88.       In March 2018, Kaiser Permanente, another large healthcare management company
 6
     providing coverage to over 12 million patients, issued coverage guidelines that also required generic
 7
     amantadine step therapy before patients could progress to GOCOVRI.
 8
            89.       Despite these developments, throughout the Relevant Period, the Individual Defendants
 9
     repeatedly represented to the public that GOCOVRI would not be excluded from payors’ formularies,
10
     and that patients seeking to use the drug would not be subjected to the additional hurdles of prior
11
     authorization and step therapy.
12
            False and Misleading Statements
13
            August 8, 2017 Press Release and Conference Call
14
            90.       On August 8, 2017, The Company issued a press release announcing the Company’s
15
     financial results for the fiscal quarter ended June 30, 2017. The press release stated, in relevant part:
16
            “This is a very exciting time for Adamas, as we are potentially at the cusp of
17          transitioning from a company focused on product development to a commercial entity
            marketing its own medicines,” stated Gregory T. Went, Ph.D., Chairman and Chief
18
            Executive Officer of Adamas Pharmaceuticals, Inc. “We look forward to hearing from
19          the FDA regarding the potential approval of ADS-5102 for the treatment of levodopa-
            induced dyskinesia in people with Parkinson's disease. If approved, ADS-5102 will be the
20          first and only approved medicine for this indication.” The New Drug Application for
            ADS-5102 has a PDUFA date of August 24, 2017.
21

22          Recent Achievements

23                •   Presented expanded analysis from the ADS-5102 (amantadine extended release
                      capsules) open-label study at the 21st International Congress of
24                    Parkinson's Disease and Movement Disorders (MDS) meeting showing
                      tolerability and durability out to 88 weeks. The new subgroup analyses also
25                    showed that patients previously treated with immediate-release amantadine, who
26                    switched directly to ADS-5102, experienced a statistically significant benefit
                      from ADS-5102 comparable to patients not previously treated with ADS-5102.
27                •   Published ADS-5102 Phase 3 EASE LID clinical trial data in JAMA Neurology
                      online. The data demonstrated that ADS-5102 significantly reduced both
28
                                                        24
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 1                     dyskinesia and OFF time at six months in Parkinson's disease patients with
                       levodopa-induced dyskinesia.
 2
     (Emphasis added.)
 3
             91.       Later that same day, on August 8, 2017, the Company held a conference call to discuss
 4
     the Company’s financial results for the fiscal quarter ended June 30, 2017. During the call, Defendant
 5
     Went stated, “This is a pivotal time here at Adamas, as we are at the cusp of transitioning to a
 6
     commercial entity that delivers its medicines to people in need.”
 7
             92.       Also during the call, the following exchange took place between Piper Jaffray analyst
 8
     David Amsellem and Defendant King:
 9
             [Amsellem:] And my question here is what are your thoughts on the extent to which
10
             payers are going to force patients to step through immediate-release amantadine in order
11           to get access to 5102? Is that something that you’re planning for?

12                                                    ***
             [King:] We’ve obviously done a fair amount of assessment of ADS-5102 with physicians
13           and with payers. The profile for the product, as I mentioned in the comments, resonates
14           extremely well. And they don’t see this profile as really having much to do with the
             amantadine IR profile that they – that’s currently on the marketplace. They recognize
15           that amantadine IR is not approved for this indication. And that if ADS-5102 is
             approved for this indication and with the clinical dataset that is available to support it,
16           that there’s no anticipation of requiring a step-through of amantadine IR to get to
             5102.
17
     (Emphasis added.)
18
             November 2, 2017 Press Release and Conference Call
19
             93.       On November 2, 2017, The Company issued a press release announcing the Company’s
20
     financial results for the fiscal quarter ended September 30, 2017. The press release stated the following,
21
     in relevant part:
22
             Recent Achievements
23
             GOCOVRI™
24
                   •   Received approval by the U.S. Food and Drug Administration (FDA) for
25
                       GOCOVRI (amantadine) extended release capsules (previously ADS-5102) for
26                     treatment of dyskinesia in patients with Parkinson's disease receiving levodopa-
                       based therapy, with or without concomitant dopaminergic medications,
27                     on August 24, 2017. GOCOVRI is the first and only medicine approved by
                       the FDA for this indication.
28
                                                         25
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 1                •   Earned seven-years of orphan drug exclusivity from the FDA for GOCOVRI,
                      which will continue through August 24, 2024.
 2                •   Provided access to GOCOVRI for physicians and patients through its distribution
                      network and GOCOVRI Onboard, Adamas' patient services support program.
 3
                  •   Hired six regional sales leaders to manage its planned 59 neurology account
 4                    specialist sales force.
                  •   Published GOCOVRI (ADS-5102) Phase 3 EASE LID 2 open-label clinical trial
 5                    data in the Journal of Parkinson's Disease. The data demonstrated tolerability and
                      durability out to 88 weeks and a subgroup analysis showed that patients
 6                    previously having undergone Deep Brain Stimulation also received benefit from
 7                    ADS-5102.
                  •   Published GOCOVRI (ADS-5102) Phase 3 EASE LID 3 clinical trial data
 8                    in Movement Disorders. The data demonstrated that ADS-5102 significantly
                      reduced both dyskinesia and OFF time at three months in Parkinson's disease
 9                    patients with dyskinesia on levodopa-based therapy and confirmed the results
                      from the EASE LID study, as published in JAMA Neurology, which showed the
10                    significant reduction in dyskinesia and OFF time for 6 months.
11   (Emphasis added.)
12          94.       Later that same day, on November 2, 2017, the Company held a conference call to
13   discuss the Company’s financial results for the fiscal quarter ended September 30, 2017. During the call,
14   Defendant Went stated, “With the upcoming commercial launch of GOCOVRI, we are fulfilling our
15   corporate strategy of building a multi-product company that discovers, develops and commercialize[s]
16   medicines to treat chronic neurologic disorders.”
17          95.       Also during the call, Defendant King stated the following regarding doctors’ and
18   insurers’ interest in GOCOVRI:
19
            Reacting to this product profile presented in market research, physicians reported they
20          would use GOCOVRI and [sic] a little over half of their dyskinesia patients. They
            specify that they would use it in place of all three of the satisfactory dyskinesia
21          management strategies that they currently use, as well as in patients who are currently
            not being treated at all for the dyskinesia.
22

23                                                ***
            We have also begun outreach to payers and have scheduled clinical presentation with
24          seven out of the top 10 payers in the country for later this year. The payers are
            particularly interest[ed] in GOCOVRI as a first indication medicine for dyskinesia
25          patients who they recognize are in need. We anticipate broad payer coverage for
            GOCOVRI. And will grow over the cost [sic] of 2018.
26
     (Emphasis added.)
27

28
                                                        26
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 1
            February 22, 2018 Conference Call
 2
            96.     On February 22, 2018, the Company held a conference call to discuss the Company’s
 3
     financial results for the fiscal quarter and full year ended December 31, 2017. During the call, Defendant
 4
     King stated the following:
 5
            As you know, our discussions with payers regarding GOCOVRI are in full swing.
 6          Clinical presentations have been well received, and these payers are moving forward in
            their process to determine guidelines for reimbursement. It is important to note that
 7
            even in situations in which payers have not published reimbursement criteria, we are
 8          routinely seeing patients receive reimbursement for GOCOVRI. We continue to engage
            payers to streamline the processing of claims for GOCOVRI.
 9
                                                       ***
10          GOCOVRI Onboard is working well to process receipt prescriptions, with the majority of
11          patients in both commercial and Medicare coverage gaining access to GOCOVRI. We
            are not providing drug samples, and we do not have a free trial program through our
12          specialty pharmacy. We do have a QuickStart Program, whereby qualified patients can
            receive a free 14-day supply if the benefits verification process is taking more than five
13          days. To date, a majority of patients have not utilized this program.
14   (Emphasis added.)

15          97.     In response to an analyst’s question about whether the reimbursement process for

16   GOCOVRI was “going relatively smooth[ly]” for patients, Defendant Merriweather stated the

17   following:

18          It is, because it’s going relatively smoothly, and we’re getting to a point where we get
19          reimbursement before we need to move towards a QuickStart. I’m not sure I can give
            you any more characteristic than that other than, there’s no - I can’t say, they’re all
20          commercial. They’re all Medicare. We’re seeing across all different characteristics of the
            payer environment, and there’s no particular patient environment that I can point you
21          even at this stage.
22   (Emphasis added.)
23          98.     Also during the call, the following exchange took place between Cowen analyst Ken
24   Cacciatore and Defendant Went:
25
            [Cacciatore:] So can you give us a sense, again, on some of these plans, whether there’s
26          been prior authorizations or not, and how we’re dealing with that? And maybe, again,
            drilling down on some of the discussions on where the coverage actually stands in terms
27          of covered lives, if you can give us any sense. . . .
28
                                                       27
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 1          [Went:] Let me deal first with the managed care side of things, Ken. The - I think people
            do traditionally think very much of coverage or not coverage. And that’s a black-and-
 2          white situation. What I think is really important to realize is that black-andwhite
            situation, we’re not experiencing that black-and-white situation. We do have formal
 3
            coverage. I’m going to define formal coverage for you here as a situation in which plans
 4          have made a decision, a public decision as to how they will handle GOCOVRI and
            manage approval of GOCOVRI prescriptions, when presented. That’s – we’ll call that
 5          coverage for the sake of argument. And there are good number of plans that have actually
            made that decision and presented those conclusions publicly and then at handling the
 6          GOCOVRI prescriptions according to that pathway. But we are seeing, across all of the
 7          payers that we’ve addressed and dealt with, responsiveness, regardless of whether they
            have published set of criteria or not to manage GOCOVRI. And yes, in some cases, that
 8          results in the prior authorization request, which then leads to, ultimately, prescription
            fulfillment. But we’re seeing prescription fulfillment across most every plan. There’s
 9          very few that are not fulfilling. We have a handful of filed decisions where people are
            not fulfilling prescriptions. But in general, people are all fulfilling, whether they have
10          a published plan or not.
11   (Emphasis added.)
12          April 26, 2018 Proxy Statement
13          99.     On April 26, 2018, the 2018 Proxy Statement. Defendants Went, Bigham, Demski, Dier,
14   Ericson, Lieberburg, Mahoney, and MacPhee solicited the 2018 Proxy Statement filed pursuant to
15   Section 14(a) of the Exchange Act, which contained material misstatements and omissions.1
16          100.    With respect to the Company’s Code of Conduct, the 2018 Proxy Statement stated, “[w]e
17   have adopted a code of business conduct and ethics that applies to all of our employees, officers and
18   directors, including those officers responsible for financial reporting.”
19          101.    The 2018 Proxy Statement was false and misleading because, despite assertions to the
20   contrary, the Code of Conduct was not followed, as evidenced by the numerous false and misleading
21   statements alleged herein, and the Individual Defendants’ failures to report violations of the Code of
22   Conduct.
23          102.    The 2018 Proxy Statement also failed to disclose, inter alia, that: (1) health insurers and
24   other payors were by and large providing limited or no coverage of GOCOVRI, or were imposing
25

26
     1
      Plaintiff’s allegations with respect to the misleading statements in the 2018 Proxy Statement are based
     solely on negligence; they are not based on any allegation of reckless or knowing conduct by or on
27   behalf of the Individual Defendants, and they do not allege, and do not sound in, fraud. Plaintiff
     specifically disclaims any allegations of, reliance upon any allegation of, or reference to any allegation
28   of fraud, scienter, or recklessness with regard to these allegations and related claims.
                                                        28
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 1
     burdensome requirements that limited patients’ access to GOCOVRI; (2) as payors began to indicate
 2
     their positions on GOCOVRI, the number of physicians prescribing GOCOVRI would decrease
 3
     precipitously; (3) as a result of the foregoing, GOCOVRI’s sales, market penetration, and market share
 4
     would be severely impacted in the long run; and (4) the Company failed to maintain internal controls. As
 5
     a result of the foregoing, the Company’s public statements were materially false and misleading at all
 6
     relevant times.
 7
            May 3, 2018 Conference Call
 8
            103.       On May 3, 2018, the Company held a conference call to discuss the Company’s financial
 9
     results for the fiscal quarter ended March 31, 2018. During the call, Defendant King attempted to
10
     downplay the effect of prior authorization on support for GOCOVRI, stating the following:
11
            Today we’ve seen support from payers regarding GOCOVRI prescription
12          reimbursement, a process which is handled by our GOCOVRI onboard program. The
            significant majority of prescriptions submitted are being reimbursed with less than 2%
13
            of prescriptions received to-date ultimately rejected as not covered.
14
            While specific criteria for coverage may not yet be available and/or may differ slightly
15          from plan to plan in the majority of cases and across all peer segments, coverage is
            supported if the patient has a diagnosis of Parkinson’s disease dyskinesia is consistent
16          with labeling. Some plans also ask the physician to confirm that the patient has a
17          medical history with amantadine IR.

18   (Emphasis added.)

19          104.       Also during the call, the following exchange took place between Defendant King and

20   Piper Jaffray analyst David Ansellem:

21          [Amsellem:] Can I ask you similar [sic] related question it may be a bit of a backward
            looking question but are you surprised regarding the extent to which you are seeing
22          patient having to be step [sic] through immediate release amantadine. And I guess maybe
23          another way of asking this is, as you look to broaden the patient audience and presumably
            get access to patients who are naïve to amantadine. Does that inform in any way your
24          willingness to contract more aggressively?

25          [King:] So, let me just try and pickup on the first point you mentioned stepping through
            IR you mentioned, I’m not aware of any plan that has a hard step for us through IR
26          amantadine. I am aware of plans that have – I’m interested as to whether IR
27          amantadine has been tried before in patients and has been shown to be ineffective or
            not well-tolerated, we’ve seen that. But I’m unaware of any plan which is a formal step
28          through IR amantadine.
                                                        29
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 1
     (Emphasis added.)
 2
            August 2, 2018 Conference Call
 3
            105.   On August 2, 2018, the Company held a conference call to discuss the Company’s
 4
     financial results for the fiscal quarter ended March 31, 2018. During the call, the following exchange
 5
     took place between Defendant King and Evercore ISI analyst Josh Schimmer:
 6
            [Schimmer:] Since the last update, it looks like the number of prescribers of GOCOVRI
 7
            have grown by about 75%. The scrips per prescribers have grown by about 20%. So how
 8          do you think about those drivers going forward, the ability to sustain kind of 30 new
            prescribers per week? And I think some of your commentary suggested that maybe the
 9          growth in prescriptions per prescriber may be slowing just based on the delay in getting
            physicians to hear back from patients. So how effective do you think your efforts will be
10          in at least sustaining this pace of growth of prescriptions per prescriber?
11
                                                        ***
12          [King:] Certainly. So Josh, the number of prescribers, getting to 1,000 prescribers within
            6 months, I feel, is a significant success. And you’re right, that you could do the -- the
13          math is about 30 or so per week. Inevitably, that’s going to slow down. It has to at some
            stage. But certainly, I don’t imagine that’s going to stop. It will just slow down gradually
14          over the course of time. In terms of the prescriptions per prescriber, it has increased. But
15          the important thing, as I mentioned on the call, we still see a number of physicians who
            are in a trial mode for GOCOVRI. We do think that, that largely reflects, that when we
16          present the GOCOVRI data to them, they’re surprised by the dramatic affects that
            GOCOVRI has on dyskinesia and OFF and ON functional time, particularly in
17          comparison to immediate release amantadine. And because of this, they decide that
            they want to prove to themselves, in their own hands, that the clinical benefits that we
18          describe for GOCOVRI are as strong as our Phase III data illustrates. And for that
19          reason, they trial the product. And the good news is that the feedback from patients is
            strong and generally complementary of the effects that we see in Phase III. And then
20          as physicians move through that trial period, they become regular and continuous
            prescribers of GOCOVRI at that stage. It’s our challenge to get them through that trial
21          period as quickly as possible. And that’s our focus for the second half of the year.
22
     (Emphasis added.)
23          106.   Also during the call, the following exchange took place between Defendant King and
24   William Blair analyst Myles Minter:
25
            Minter:] Myles Minter on for Tim Lugo. My question is just about more granularity,
26          about the time lag that you see with patients that aren’t following up as quickly as you’d
            like. How long does it take from going away from the doc with a scrip to potentially
27          seeing them coming back?
28
                                                      30
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 1          [King:] So I’ll take that one. It’s variable. But we know that the standard cycle of a
            patient seeing a physician is a 3-month cycle. So we would also like to see that
 2          accelerated and get feedback to the physician faster than that 3-month cycle.
 3   (Emphasis added.)
 4          107.     In response to an analyst question regarding patient access to GOCOVRI, Defendant
 5   Went stated the following:
 6
            And with regard to -- just back to Greg. With patients not paying, Ken, we’re not -- as
 7          Alf commented in his part of the call, the Quick Start, which was used in the beginning,
            is being used less and less, as patients become familiar and begin to put multiple
 8          patients onboard, and gain more confidence in GOCOVRI Onboard. And the
            percentage who are being supported by our patient assistance program is also very
 9          small.
10
     (Emphasis added.)
11          108.    Also during the call, the following exchange took place between Defendant Merriweather
12   and Josh Schimmer:
13
            [Schimmer:] Great. And then last question, maybe you could just discuss the status of
14          reimbursement, characterize the ease of access to GOCOVRI, percent of plans with prior
            auths and as well what you're seeing from IR or sustained IR amantadine versions in
15          terms of their positioning on formularies as well.
16
            [Merriweather:] So very little on sustained IR. I like that characterization actually. In
17          terms of our position on formularies, we continue to see current plans that have issued
            now formal guidance on how to process reimbursement for GOCOVRI. That continues
18          to happen. There are still a number of plans that have not published those formal
            criteria yet. But in the overwhelming majority of cases, we’re seeing the vast majority
19          of plans give us good support for reimbursement for GOCOVRI approval for
20          reimbursement. And they’re processing the prescription very, very quickly, which is
            clinging [sic] to us.
21
     (Emphasis added.)
22
            109.    The statements in ¶¶ 90–98 and 103–108 were materially false and misleading, and they
23
     failed to disclose material facts necessary to make the statements made not false and misleading.
24
     Specifically, the Individual Defendants improperly failed to disclose, inter alia, that: (1) health insurers
25
     and other payors were by and large providing limited or no coverage of GOCOVRI, or were imposing
26
     burdensome requirements that limited patients’ access to GOCOVRI; (2) as payors began to indicate
27
     their positions on GOCOVRI, the number of physicians prescribing GOCOVRI would decrease
28
                                                       31
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 1
     precipitously; (3) as a result of the foregoing, GOCOVRI’s sales, market penetration, and market share
 2
     would be severely impacted in the long run; and (4) the Company failed to maintain internal controls. As
 3
     a result of the foregoing, the Company’s public statements were materially false and misleading at all
 4
     relevant times.
 5
                 The Truth Gradually Emerges as False and Misleading Statements Continue
 6
            October 5, 2018 Bank of America/Merrill Lynch Survey
 7
            110.       On October 5, 2018, Bank of America/Merrill Lynch analyst Tazeen Ahmad downgraded
 8
     the Company from “Buy” to “Neutral,” and released a report showing higher than expected dropout
 9
     rates for GOCOVRI among patients, in light of the drug’s high cost, difficulties in securing prior
10
     authorizations, and the threat of a soon-to-be released competitor drug, OSMOLEX. The report stated
11
     the following, in relevant part:
12
            We conducted doctor checks with active prescribers who treat a total ~l.5k pts with
13          Parkinson’s disease (PD), of which ~700 are on generic amantadine IR and ~140 are on
            Gocovri. While this is a subset of total applicable physicians, their views are consistent
14
            with previous checks we have conducted this year. While respondents recognize the
15          benefits of Gocovri over generic in reducing “off” time, better tolerability and lower pill
            burden (QD vs 3x a day), they note the hurdles to get patients on Gocovri due to cost
16          (WAC [Wholesale Acquisition Cost]: $28.5k vs 2k for IR). The majority cited the need
            for prior authorization requests, with half noting requirement for prior treatment of
17          generic. Doctors expect a moderate increase in Gocovri use in the next six months . . . .
18          Gocovri is restricted on several formularies in 2019 (Express Scripts, CVS, United,
            Optum) but we note management in the past has stated to us that this is not in their view a
19          deterrent to uptake.

20   (Emphasis added.)
21          111.       On this news, the price of the Company’s stock fell from $19.35 per share at the close of

22   trading on October 4, 2018, to $17.83 per share at the close of trading on October 5, 2018.

23          November 1, 2018 Earnings Release and Conference Call

24          112.       After the close of trading on November 1, 2018, the Company released its earnings

25   results for the fiscal quarter ended September 30, 2018. The Company revealed disappointing results,

26   disclosing that the Company expected only 2% market penetration by the end of 2019, up from 1%

27   market penetration by the end of 2018.

28
                                                           32
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 1
            113.   Also on November 1, 2018, the Company held a conference call to discuss the
 2
     Company’s financial results for the fiscal quarter ended September 30, 2018. During the call, Defendant
 3
     Went stated, “We continue to believe that GOCOVRI is an extremely important drug and that we can
 4
     reach 25% to 30% peak penetration in the Parkinson’s disease dyskinesia population.”
 5
            114.   In response to an analyst questioning the impact of OSMOLEX on the Company’s
 6
     prospects, Defendant Went stated the following:
 7
            Thanks for the question. We don’t really expect any change in the formulary coverage.
 8          As you know, we’re not a formally covered, but we are reimbursed and the majority of
            prescriptions are we [sic] getting reimbursed in a really good period of time. We have
 9
            heard a bit about OSMOLEX coming to the market. That product has a very different
10          value proposition being once daily in the morning equivalent version of amantadine IR. I
            think it will be – and it has a separate indication, it is supported only by pharmacokinetic
11          data and not by any efficacy data since as you recall the original label for Symmetrel does
            not contain a significant data package to promote to. And so I think it will be largely
12          independent from us in terms of how it ends up being reimbursed and what its
13          challenges will be and whether or not it gets folded into something that physicians are
            encouraged to try as some plans have done with amantadine IR, I think remains to be
14          seen. But again, we are – we’ve been facing that market reality since, well before we
            launched the product and are pleased with how that is playing out right now in terms
15          of any kind of a prior attestation of use of amantadine IR.
16   (Emphasis added.)
17          115.   In response to an analyst commenting on patient access to GOCOVRI, Defendant
18   Merriweather stated the following:
19
            Yes, Ken. We’re not wanted to get into sort of the specifics of NRx levels and so on. But
20          what we’re trying to convey was that internal term, we use generally consistent. So,
            really, we’re saying that we’re in that very same range quarter-to-quarter. That was the
21          tone that we were trying to get a general sense that you’re trying to convey. With regard
            to the question was sort of free drug, I think that was the gist of your question. And we
22          continue to see a minority of prescriptions, patients coming through the Quick Start
23          program. So, it’s there as part of our armor if you like, but not necessarily, a
            significant element. It’s not trivial, but it’s certainly not significant.
24
     (Emphasis added.)
25
            116.   Also during the call, the following exchange took place between Defendant Went and
26
     Evercore ISI analyst Josh Schimmer:
27

28
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 1          [Schimmer:] One more question if I may, it looks like in the third quarter, you’ve now
            switched to growth driven, much more extensively by scripts per prescriber as opposed to
 2          the incremental number of prescribers, which seems to be slowing a little bit. Maybe as
            you look at the trends throughout the quarter, you can give us a sense of what you expect
 3
            going forward as the primary driver. And whether this – either of these growth
 4          trajectories are at some kind of a steady state?

 5          [Went:] Josh, it’s Greg, let me take that on. What we’re seeing in my remarks on the call,
            it really kind of reflects the sort of specialty, subspecialty nature of this market. We’re
 6          getting very, very strong adoption in the movement disorders we’ve become adopted in
 7          with a greater 5% penetrance in that percentage, which means a relatively high volume
            prescription there. And then if you look back all the way down to the general
 8          neurologist, it’s still in a smaller population and in more of a trialing phase. So with
            the efforts we’re going to take during the quarter and in next quarter, it really is about
 9          aligning sales execution and incentives into those movement disorder centers, the
            simplification of the messaging and then the educating on the breadth of patients
10          present there and your other message, which was how to properly dose them, we think
11          is what’s going to drive the business forward. And what that’s going to lead to is, we
            believe greater penetrance in these very large centers and where we have neurologists,
12          who have eligible patients. It’s a smaller practice and we look forward to seeing that
            occur as well. But clearly for the next several quarters, the focus is on the larger
13          centers and deepening the prescribing behavior per physician.
14   (Emphasis added.)
15          117.    On this news, the price of the Company’s stock fell from $16.97 per share at the close of
16   trading on November 1, 2018, to $11.89 per share at the close of trading on November 2, 2018, a drop of
17   almost 30%.
18          March 4, 2019 Conference Call
19          118.    On March 4, 2019, the Company held a conference call to discuss the Company’s
20   financial results for the fiscal quarter and full year ended December 31, 2018. During the call,
21   Defendants Went and Merriweather reduced previous growth expectations for the Company and
22   declined to offer further guidance for 2019, stating the following:
23
            [Went:] We believe that advancing prescriber education and positive experience of
24          GOCOVRI through these and our other commercial efforts will drive the use of
            GOCOVRI going forward. We are excited about the potential of these approached which
25          are live in the field today. Of course, we are still relatively early in our launch, actively
            learning, and we expect it to take a few quarters for these improved execution efforts to
26
            take effect. During this time, our results may continue to fluctuate quarter-to-quarter. As
27          we look back on the latter part of 2018, we specifically note a slowing in the rate of
            total prescription growth quarter-to-quarter, which we see continuing into the first part
28          of 2019. While seasonal phenomenon maybe playing some role in this, we are focused
                                                       34
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 1          on the improved execution previously mentioned in order to expand GOCOVRI use
            and adoption in 2019 and beyond.
 2
                                                       ***
 3
            [Merriweather:] Let me know [sic] turn to our outlook for 2019. We expect continued
 4          total prescription and revenue growth for the year based upon the benefits of GOCOVRI
            and the commercial initiatives to drive demand that Greg noted. Because we’re still very
 5          early in the commercialization of GOCOVRI, we’re not providing prescription or
            revenue guidance in 2019.
 6

 7   (Emphasis added.)

 8          119.   Went also stated the following with respect to the accessibility of GOCOVRI:
 9
            [W]e have evolved our Quick Start program into a broader free trial program to allow
10          more prescribers and patients to readily experience firsthand the benefits of
            GOCOVRI. This option will also potentially encourage trial of GOCOVRI in a broader
11          array of patient [sic] with dyskinesia consistent with the population in which GOCOVRI
12          was studied.

13   (Emphasis added.). In response to analyst David Amsellem’s prompting to provide clarification on what

14   guideposts analysts could look to in order to understand the trajectory of GOCOVRI in the wake of the
15   Company’s backtracking from its prior guidance, Defendant Went stated:
16
            [Went:] David, thanks for your question. Listen, as we started with the third quarter call
17          and reiterated today, our goal right now is to drive growth in TRx through the strategies I
            just described. We then implemented a number of these in the last few weeks at our
18          National Sales Meeting, as we came off the call and really spend the fourth quarter
            developing the materials and the newer tools that we have rolled out to the field. So they
19
            are now all live in the field.
20
            As we look back from the end of last year, as I mentioned on the call, we did see a
21          slower rate of increase in the TRx, and given that trend in the end of the fourth quarter
            and going into the first quarter, are not going provide [sic] any specific TRx guidance
22          this year, or revenue guidance. So, we will continue to drive that growth through
            spreading the GOCOVRI message, broadening the GOCOVRI message around, and it’s
23
            typical early -- still in launch,
24

25          120.   During the call, the following exchange took place between William Blair analyst Tim

26   Lugo and Defendant Went regarding GOCOVRI sales growth:

27          [Lugo:] …. And sequentially should we be expecting growth throughout the year in
            GOCOVRI in terms of just net product sales?
28
                                                      35
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 1
           [Went:] Tim, what we think the current trajectory, which is, it’s just very difficult to
 2         model as you know, four quarters into a launch. We are pleased with where it is overall.
           The strategies we are implying right now are specifically intended to drive TRx and
 3
           adoption into the areas where we are seeing lesser performance. We are very enthused
 4         by what we are seeing in some really core areas as adoption has occurred both broadly
           and deeply, but we still need to make progress, and we believe the tactics we are laying
 5         out are going to allow us to grow. And we will be monitoring it and reporting it to you
           very carefully as the next couple of quarters proceed.
 6

 7   (Emphasis added.)
           121.   Also during the call, the following exchange took place between Bank of
 8
     America/Merrill Lynch analyst Tazeen Ahman and Defendant Went regarding the Company’s guidance:
 9

10         [Ahmad:] Okay. And then wanted to get your thoughts also on how you’re thinking about
           the overall ramp. So if you’re not giving guidance on specific numbers on script gross,
11         where do you think you can guide us to where the growth could be? Is the growth going
           to come from doctors that have already been prescribing it or are you looking more to
12         growth from new prescribers?
13
           [Went:] Great question that kind of ties into Ken’s. Where we’re seeing adoption that
14         we’re pleased with in those areas, what we’re seeing is both a breadth of adoption in an
           area, as well as a dept of adoption, and physicians are continuing to prescribe GOCOVRI
15         and we see them deepening that as is common in the launch of a new product. Where we
           need to be successful with the efforts that we’re laying out that we’ve just introduced to
16         the field in the last couple of weeks is in areas where the adoption is not as deep, where
17         the number of experiences the physicians have had are not as significant as I'd like to
           be. And we believe from what we’ve seen that the market is every bit as big as we
18         thought it was, based upon how the top areas are performing, but in those areas where
           we’re not seeing that performance, we really need to get, you know, if you will, the fire
19         started, get that deepening beginning, so that physicians and then neighboring
           physicians can see the impact that GOCOVRI can have both on their reduction in
20
           dyskinesia, but their ability to manage these patients more effectively through the
21         improvements and reduction and OFF time as well.

22   (Emphasis added.)

23         122.   Lastly, Defendant Went stated the following regarding GOCOVRI usage:

24         We see as a proof point, our learning from 2018 that we needed to better educate
           prescribers about the appropriate use of GOCOVRI and the availability of the 68.5
25
           milligram starting dose for patients with moderate to severe renal impairment. Many
26         PD patients are elderly and less [thus?] more likely to have renal impairment. Such
           patients not properly dosed on GOCOVRI could have, and in some cases, have had
27         negative experiences on the medicine with the occurrence of adverse events.
           Accordingly, we armed our field team with specific messages around appropriate dosing,
28
                                                     36
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 1          and added the 68.5 milligram dose as a reduced dosing option on our treatment front. We
            are already seeing a positive impact of this approved education.
 2
     (Emphasis added.)
 3
            123.    Analysts reacted with consternation to these disclosures. For example, Piper Jaffray
 4
     analyst David Amsellem reduced his price target for the Company, stating, “ With Adamas refining its
 5
     marketing message on GOCOVRI, in addition to starting a sampling program over one year following
 6
     the launch, it is fair to wonder if management has misread both its physician audience and the payer
 7
     landscape.”
 8
            124.    Mizuho analyst Irina Koffler lowered her price target for the Company and downgraded
 9
     the Company’s rating to “Underperform,” stating that GOCOVRI’s launch was going “even worse than
10
     we thought.”
11
            125.    Cowen analyst Ken Cacciatore also lowered his price target for the Company and
12
     downgraded his rating of the Company from “Outperform” to “Perform,” stating the following:
13

14          Disclosure that Gocovri Rx trajectory is flattening and that growth for the next several
            quarters is expected to be erratic is concerning this early in the launch. Reflecting
15          management’s removal of their previous qualitative guidance – and therefore lowering
            the growth trajectory – our corresponding DCF declines to where a downgrade is
16          warranted.
17
            126.    Needham analyst Serge Belanger downgraded his rating of the Company to “Hold,”
18
     stating, “[w]e are heading to the sidelines, downgrading ADMS to a Hold, until we have better visibility
19
     that issues can be addressed and Gocovri's launch ramp can re-accelerate.”
20
            127.    Bank of America/Merrill Lynch analyst Tazeen Ahmad issued a report addressing the
21
     Company’s March 5, 2019 disclosures, which stated the following, in relevant part:
22

23          [T]he expansion of free drug to 28 day (prev. 14-day) in our view is a signal of weak
            demand consistent with our prior doctor checks which led to our initial round of
24          estimate revisions last fall. Recall, doctors we surveyed reported higher than-expected
            dropouts with only early signs of appreciation of its time release biology. We continue
25          to view Gocovri sales cautiously as: (i) competitor Osmotica recently initiated full
26          commercial launch of Osmolex (also extended release amantadine) which is priced
            approx. 3x lower than Gocovri ($2.6K vs ~$1K/mo); (ii) coverage remains scarce with
27          several national formularies excluding Gocovri in 2019; and (iii) ongoing litigations
            against Sandoz and Osmotica. In our model, we update 4Q financials including cash and
28          share count.
                                                      37
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 1
            We lower our peak penetration to 15% (prev. 18.5%) and adjust ramp rate in LID. We
 2          also adjust sales ramp for the follow-on indication in MS given struggling sales in lead
            indication and concerns on whether mgmt will be able to execute commercially. We now
 3
            model Gocovri peak sales of $208mn (prev. $258mn) in LID (contributing $1/sh in our
 4          PO) in 2025. ADMS is expected to report topline results from ongoing ph 3 ADS-4101
            study in multiple sclerosis walking impairment (MSWI) in 2H19. We reiterate our
 5          Neutral rating on ADMS shares with lower PO $10 (prev. $17), but note failure of the
            MS indication to advance would lead to meaningful downside to our current estimates.
 6

 7   (Emphasis added.)
            128.    On this news, the price of the Company’s stock fell from $12.15 per share at the close of
 8
     trading on March 4, 2019, to $8.16 per share at the close of trading on March 5, 2019, a drop of over
 9
     32%.
10
            129.    Negative reports continued to ensue, as the Company began shifting away from its prior
11
     commercial plans for GOCOVRI.
12
            130.    On March 10, 2019, Mizuho analyst Irena Koffler issued a negative report on the
13
     Company, stating, “[w]e reiterate our Underperform rating and $5 PT after disappointing sequential
14
     trends for Gocovri, a topline miss, and delay of a pipeline program.”
15
            131.    On March 11, 2019, Seeking Alpha posted on article commenting on analysts’ reactions
16
     and interactions with Company management during the March 5, 2019 conference call.2 The article
17
     stated the following, in relevant part:
18

19          [T]he selling in afterhours coincided with the analyst Q&A session during the company
            conference call. Analysts appeared to be confused with the company's new changes in
20          their commercial plan for GOCOVRI and the company's lack of revenue guidance for
            2019. It seemed as if every analyst was asking for some clarification on these issues,
21          but the Adamas management answered with vague responses. The management's
22          opposition to offering specifics appeared to frustrate the analysts… I started to imagine
            the analyst downgrades in retaliation to the management's stonewalling.
23
            The numbers did provide me confidence that GOCOVRI is making headway, but the vibe
24          from the management had me wondering if they are preparing for a lackluster 2019. It
            was only a couple of months ago that the company's goal was to double its market
25          penetration with GOCOVRI. Now… no targets, benchmarks, or specifics.
26
27
     2
        https://seekingalpha.com/article/4247769-adamas-beats-on-earnings-misses-on-conference-call (last
28   visited February 25, 2020).
                                                        38
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 1   (Emphasis added.)
 2          April 25, 2019 Proxy Statement

 3          132.       On April 25, 2019, the Company filed the 2019 Proxy Statement with the SEC.

 4   Defendants Went, Bigham, Demski, Dier, Ericson, Lieberburg, Mahoney, and MacPhee solicited the

 5   2019 Proxy Statement filed pursuant to Section 14(a) of the Exchange Act, which contained material

 6   misstatements and omissions.3

 7          133.       With respect to the Company’s Code of Conduct, the 2019 Proxy Statement stated, “[w]e

 8   have adopted a code of business conduct and ethics that applies to all of our employees, officers and

 9   directors, including those officers responsible for financial reporting.”

10          134.       The 2019 Proxy Statement was false and misleading because, despite assertions to the

11   contrary, the Code of Conduct was not followed, as evidenced by the numerous false and misleading

12   statements alleged herein, and the Individual Defendants’ failures to report violations of the Code of

13   Conduct.

14          135.       The 2019 Proxy Statement also failed to disclose, inter alia, that: (1) health insurers and

15   other payors were by and large providing limited or no coverage of GOCOVRI, or were imposing

16   burdensome requirements that limited patients’ access to GOCOVRI; (2) as payors began to indicate

17   their positions on GOCOVRI, the number of physicians prescribing GOCOVRI would decrease

18   precipitously; (3) as a result of the foregoing, GOCOVRI’s sales, market penetration, and market share

19   would be severely impacted in the long run; and (4) the Company failed to maintain internal controls. As

20   a result of the foregoing, the Company’s public statements were materially false and misleading at all

21   relevant times.

22          Subsequent Analyst Reports

23          136.       Over the course of the next several quarters, the Company shifted its focus to prioritize

24   obtaining FDA approval for GOCOVRI to be used as a treatment for a form of multiple sclerosis

25

26
     3
      Plaintiff’s allegations with respect to the misleading statements in the 2019 Proxy Statement are based
     solely on negligence; they are not based on any allegation of reckless or knowing conduct by or on
27   behalf of the Individual Defendants, and they do not allege, and do not sound in, fraud. Plaintiff
     specifically disclaims any allegations of, reliance upon any allegation of, or reference to any allegation
28   of fraud, scienter, or recklessness with regard to these allegations and related claims.
                                                         39
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 1
     (“MS”). During a conference call held on May 9, 2019, for instance, Defendant Went stated that
 2
     Adamas had “2 immediate priorities: GOCOVRI’s launch in Parkinson’s and the MS program.”
 3
     However, this shift did little to assuage negative analyst sentiments regarding the Company and its
 4
     prospects.
 5
            137.    On May 27, 2019, Seeking Alpha posted another article commenting on the Company’s
 6
     performance, which stated the following:4
 7
            What’s My Verdict? Adamas was Overrated… I have to confess, I feel as if I continued
 8          to buy into the hype after GOCOVRI approval. I felt as if the company had a product that
            was destined to be prescribed to a large number of PD patients that were starved for a
 9
            drug like GOCOVRI. Throw in street analysts projecting $75 per share and I feel a bit
10          hoodwinked as ADMS investor. The company has not been able to grab a large piece of
            their market and hasn’t done a great job admitting their initial outlook was too
11          optimistic for a patient population that has so many challenges. So, I would say ADMS
            was overrated for the past year and change.
12

13   (Emphasis added.)
            138.    On September 27, 2019, the Evaluate Group published a report commenting on a
14
     preliminary study involving the use of GOCOVRI to treat MS. The report stated the following:
15

16          Gocovri could find it tough to gain market share. Adamas’s initial focus will be patients
            who have discontinued [competitor drug] Ampyra; around half of the patients in Inroads
17          are Ampyra failures. But in order to sell really well, Gocovri will need to show markedly
            better efficacy than Ampyra. In one of its pivotal trials, the Acorda drug improved
18          walking speed by 14% versus 8% with placebo at nine weeks.
19
            The omens are not good: phase II data with Gocovri show a similar 17% improvement in
20          walking speed at four weeks, although the usual caveats about crosstrial comparisons
            apply.
21
     (Emphasis added.)
22
            139.    At last, on September 30, 2019, Bank of America/Merrill Lynch analyst Tazeen Ahmad
23
     published another report on the Company, and further downgraded his rating of the Company to
24
     “Underperform.” The report stated the following, in relevant part:
25

26
27
     4
         https://seekingalpha.com/article/4266659-adamas-pharmaceuticals-was-overrated       (last      visited
28   February 25, 2020).
                                                      40
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 1          We lower our rating for ADMS shares to Underperform with new PO of $5 (from $9).
            We make our changes based on our recent doctor checks ahead of ph 3 INROADS data in
 2          MSWI (see page 3). Key points: (1) While efficacy data of ‘5102 in ph 2 is in line with
            current SoC (Ampyra), doctors are more confident about the safety profile of Ampyra
 3
            (despite incidence of seizures as a concern) compared to ‘5102. Doctors continue to
 4          expect Ampyra as an earlier line tx especially with cheaper generic Ampyra available; (2)
            although doctors already use amantadine primarily for fatigue, its use in MSWI is of
 5          novel idea for doctors and will need time to gain comfort;…
 6          We note existing overhangs for ADMS: (1) Gocovri coverage: a number of national
 7          formularies exclude Gocovri. We expect reimbursement hurdles in MSWI space
            especially with generic Ampyra launch; (2) ongoing litigations against Sandoz and
 8          Osmotica; (3) Osmolex launch: (priced approx. 3x lower than Gocovri) poses competitive
            risk; and (4) New mgmt team: ADMS will have a new CEO, CFO and CCO, to take over
 9          the launch in LID and oversee the pipeline. While we agree change in this situation can
            be good, we also note new CEO Neil McFarlane and CCO Vijay Shreedhar have prev.
10          success, though they will also be on learning curves for the time being. A successful new
11          indication or acceleration of LID sales would lead to upside in our ests.

12   (Emphasis added.)

13          140.    On the issuance of these reports, the price of the Company’s stock fell once more, from

14   $7.05 per share at the close of trading on September 26, 2019, to $4.03 at the close of trading on October

15   3, 2019, representing a six-day drop of over 42%.

16                                         DAMAGES TO ADAMAS

17          141.    As a direct and proximate result of the Individual Defendants’ conduct, Adamas has lost

18   and expended, and will lose and expend, many millions of dollars.

19          142.    Such expenditures include, but are not limited to, legal fees associated with the Securities

20   Class Action filed against the Company and its former CEO and CFO, and amounts paid to outside

21   lawyers, accountants, and investigators in connection thereto.

22          143.    Additionally, these expenditures include, but are not limited to, handsome compensation

23   and benefits paid to the Individual Defendants who breached their fiduciary duties to the Company,

24   including bonuses tied to the Company’s attainment of certain objectives, and benefits paid to the

25   Individual Defendants who breached their fiduciary duties to the Company.

26          144.    As a direct and proximate result of the Individual Defendants’ conduct, Adamas has also

27   suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s discount” that will

28
                                                       41
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 1
     plague the Company’s stock in the future due to the Company’s and their misrepresentations and the
 2
     Individual Defendants’ breaches of fiduciary duties and unjust enrichment.
 3
                                         DERIVATIVE ALLEGATIONS
 4
             145.    Plaintiff brings this action derivatively and for the benefit of Adamas to redress injuries
 5
     suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their fiduciary duties
 6
     as directors and/or officers of Adamas, waste of corporate assets, and unjust enrichment, as well as the
 7
     aiding and abetting thereof.
 8
             146.    Adamas is named solely as a nominal party in this action. This is not a collusive action to
 9
     confer jurisdiction on this Court that it would not otherwise have.
10
             147.    Plaintiff is, and has continuously been at all relevant times, a shareholder of Adamas.
11
     Plaintiff will adequately and fairly represent the interests of Adamas in enforcing and prosecuting its
12
     rights, and, to that end, has retained competent counsel, experienced in derivative litigation, to enforce
13
     and prosecute this action.
14
                                     DEMAND FUTILITY ALLEGATIONS
15
             148.    Plaintiff incorporates by reference and re-alleges each and every allegation stated above
16
     as if fully set forth herein.
17
             149.    A pre-suit demand on the Board of Adamas is futile and, therefore, excused. At the time
18
     of filing of this action, the Board consists of Defendants Bigham, Demski, Dier, Ericson, Lieberburg,
19
     Mahoney, and MacPhee (the “Director-Defendants”), along with non-party Neil F. McFarlane
20
     (collectively, the “Directors”). Plaintiff needs only to allege demand futility as to four of the eight
21
     Directors that were on the Board at the time this action was commenced.
22
             150.    Demand is excused as to all of the Director-Defendants because each one of them faces,
23
     individually and collectively, a substantial likelihood of liability as a result of the scheme they engaged
24
     in knowingly or recklessly to make and/or cause the Company to make false and misleading statements
25
     and omissions of material facts, which renders them unable to impartially investigate the charges and
26
     decide whether to pursue action against themselves and the other perpetrators of the scheme.
27

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 1
            151.    In complete abdication of their fiduciary duties, the Director-Defendants either
 2
     knowingly or recklessly participated in making and/or allowing certain of the Individual Defendants to
 3
     make the materially false and misleading statements alleged herein. The fraudulent scheme was, inter
 4
     alia, intended to make the Company appear more profitable and attractive to investors. As a result of the
 5
     foregoing, the Director-Defendants breached their fiduciary duties, face a substantial likelihood of
 6
     liability, are not disinterested, and demand upon them is futile, and thus excused.
 7
            152.    Additional reasons that demand on Defendant Bigham is futile follow. Defendant Bigham
 8
     has served as a Company director since September 2006. He also serves as a member of the Audit
 9
     Committee and the Nominating and Corporate Governance Committee. Defendant Bigham has received
10
     and continues to receive compensation for his role as a director as described above. As a trusted
11
     Company director, he conducted little, if any, oversight of the Company’s engagement in the scheme to
12
     make false and misleading statements, consciously disregarded his duties to monitor such controls over
13
     reporting and engagement in the scheme, and consciously disregarded his duties to protect corporate
14
     assets. For these reasons, too, Defendant Bigham breached his fiduciary duties, faces a substantial
15
     likelihood of liability, is not independent or disinterested, and thus demand upon him is futile and,
16
     therefore, excused.
17
            153.    Additional reasons that demand on Defendant Demski is futile follow. Defendant Demski
18
     has served as a Company director since March 2014. She also serves as the Chair of the Audit
19
     Committee, and as a member of the Compensation Committee. Defendant Demski has received and
20
     continues to receive compensation for her role as a director as described above. As a trusted Company
21
     director, she conducted little, if any, oversight of the Company’s engagement in the scheme to make
22
     false and misleading statements, consciously disregarded her duties to monitor such controls over
23
     reporting and engagement in the scheme, and consciously disregarded her duties to protect corporate
24
     assets. For these reasons, too, Defendant Demski breached her fiduciary duties, faces a substantial
25
     likelihood of liability, is not independent or disinterested, and thus demand upon her is futile and,
26
     therefore, excused.
27

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 1
            154.    Additional reasons that demand on Defendant Dier is futile follow. Defendant Dier has
 2
     served as a Company director since October 2017. She also serves as a member of the Audit Committee.
 3
     Defendant Dier has received and continues to receive compensation for her role as a director as
 4
     described above. As a trusted Company director, she conducted little, if any, oversight of the Company’s
 5
     engagement in the scheme to make false and misleading statements, consciously disregarded her duties
 6
     to monitor such controls over reporting and engagement in the scheme, and consciously disregarded her
 7
     duties to protect corporate assets. For these reasons, too, Defendant Dier breached her fiduciary duties,
 8
     faces a substantial likelihood of liability, is not independent or disinterested, and thus demand upon her
 9
     is futile and, therefore, excused.
10
            155.    Additional reasons that demand on Defendant Ericson is futile follow. Defendant Ericson
11
     has served as a Company director since 2005. He also serves as the Chair of the Nominating and
12
     Corporate Governance Committee, and as a member of the Compensation Committee. Defendant
13
     Ericson has received and continues to receive compensation for his role as a director as described above.
14
     As a trusted Company director, he conducted little, if any, oversight of the Company’s engagement in
15
     the scheme to make false and misleading statements, consciously disregarded his duties to monitor such
16
     controls over reporting and engagement in the scheme, and consciously disregarded his duties to protect
17
     corporate assets. For these reasons, too, Defendant Ericson breached his fiduciary duties, faces a
18
     substantial likelihood of liability, is not independent or disinterested, and thus demand upon him is futile
19
     and, therefore, excused.
20
            156.    Additional reasons that demand on Defendant Lieberburg is futile follow. Defendant
21
     Lieberburg has served as a Company director since 2004. Defendant Lieberburg has received and
22
     continues to receive compensation for his role as a director as described above. As a trusted Company
23
     director, he conducted little, if any, oversight of the Company’s engagement in the scheme to make false
24
     and misleading statements, consciously disregarded his duties to monitor such controls over reporting
25
     and engagement in the scheme, and consciously disregarded his duties to protect corporate assets. For
26
     these reasons, too, Defendant Lieberburg breached his fiduciary duties, faces a substantial likelihood of
27
     liability, is not independent or disinterested, and thus demand upon him is futile and, therefore, excused.
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 1
            157.    Additional reasons that demand on Defendant Mahoney is futile follow. Defendant
 2
     Mahoney has served as a Company director since 2009, and as the Chairman of the Board since
 3
     September 11, 2019. He also serves as the Chair of the Compensation Committee. Defendant Mahoney
 4
     has received and continues to receive compensation for his role as a director as described above. As a
 5
     trusted Company director, he conducted little, if any, oversight of the Company’s engagement in the
 6
     scheme to make false and misleading statements, consciously disregarded his duties to monitor such
 7
     controls over reporting and engagement in the scheme, and consciously disregarded his duties to protect
 8
     corporate assets. For these reasons, too, Defendant Mahoney breached his fiduciary duties, faces a
 9
     substantial likelihood of liability, is not independent or disinterested, and thus demand upon him is futile
10
     and, therefore, excused.
11
            158.    Additional reasons that demand on Defendant MacPhee is futile follow. Defendant
12
     MacPhee has served as a Company director since 2004. Defendant MacPhee has received and continues
13
     to receive compensation for his role as a director as described above. As a trusted Company director, he
14
     conducted little, if any, oversight of the Company’s engagement in the scheme to make false and
15
     misleading statements, consciously disregarded his duties to monitor such controls over reporting and
16
     engagement in the scheme, and consciously disregarded his duties to protect corporate assets. For these
17
     reasons, too, Defendant MacPhee breached his fiduciary duties, faces a substantial likelihood of liability,
18
     is not independent or disinterested, and thus demand upon him is futile and, therefore, excused.
19
            159.    Additional reasons that demand on the Board is futile follow.
20
            160.    The Directors have longstanding business and personal relationships with each other and
21
     the Individual Defendants that preclude them from acting independently and in the best interests of the
22
     Company and the shareholders. These conflicts of interest precluded the Director-Defendants from
23
     adequately monitoring the Company’s operations and internal controls and calling into question the
24
     Individual Defendants’ conduct. Thus, any demand on the Directors would be futile.
25
            161.    Defendants Bigham, Demski, and Dier (the “Audit Committee Defendants”), served on
26
     the Company’s Audit Committee during the Relevant Period. Pursuant to the Company’s Audit
27
     Committee Charter, the Audit Committee Defendants were responsible for overseeing, inter alia, the
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 1
     Company’s accounting and financial reporting processes, the integrity of the Company’s financial
 2
     statements and reports, the adequacy of the Company’s disclosure controls and procedures, and the
 3
     adequacy of the Company’s internal controls over financial reporting. The Audit Committee Defendants
 4
     failed to ensure the integrity of the Company’s financial statements and internal controls, as they are
 5
     charged to do under the Audit Committee Charter, allowing the Company to file false and misleading
 6
     financial statements with the SEC. Thus, the Audit Committee Defendants breached their fiduciary
 7
     duties, are not disinterested, and demand is excused as to them.
 8
            162.    In violation of the Code of Conduct, the Director-Defendants conducted little, if any,
 9
     oversight of the Company’s internal controls over public reporting and of the Company’s engagement in
10
     the Individual Defendants’ scheme to issue materially false and misleading statements to the public, and
11
     facilitate and disguise the Individual Defendants’ violations of law, including breaches of fiduciary duty,
12
     unjust enrichment, and waste of corporate assets. Moreover, in violation of the Code of Conduct, the
13
     Director-Defendants failed to maintain the accuracy of Company records and reports, comply with laws
14
     and regulations, or conduct business in an honest and ethical manner. Thus, the Director-Defendants
15
     face a substantial likelihood of liability and demand is futile as to them.
16
            163.    Adamas has been and will continue to be exposed to significant losses due to the
17
     wrongdoing complained of herein, yet the Director-Defendants have not filed any lawsuits against
18
     themselves or others who were responsible for that wrongful conduct to attempt to recover for Adamas
19
     any part of the damages Adamas suffered and will continue to suffer thereby. Thus, any demand upon
20
     the Directors would be futile.
21
            164.    The Individual Defendants’ conduct described herein and summarized above could not
22
     have been the product of legitimate business judgment as it was based on bad faith and intentional,
23
     reckless, or disloyal misconduct. Thus, none of the Director-Defendants can claim exculpation from
24
     their violations of duty pursuant to the Company’s charter (to the extent such a provision exists). As a
25
     majority of the Directors face a substantial likelihood of liability, they are self-interested in the
26
     transactions challenged herein and cannot be presumed to be capable of exercising independent and
27

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 1
     disinterested judgment about whether to pursue this action on behalf of the shareholders of the
 2
     Company. Accordingly, demand is excused as being futile.
 3
            165.    The acts complained of herein constitute violations of fiduciary duties owed by Adamas’
 4
     officers and directors, and these acts are incapable of ratification.
 5
            166.    The Director-Defendants may also be protected against personal liability for their acts of
 6
     mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’ liability
 7
     insurance if they caused the Company to purchase it for their protection with corporate funds, i.e.,
 8
     monies belonging to the stockholders of Adamas. If there is a directors’ and officers’ liability insurance
 9
     policy covering the Directors, it may contain provisions that eliminate coverage for any action brought
10
     directly by the Company against the Directors, known as, inter alia, the “insured-versus-insured
11
     exclusion.” As a result, if the Director-Defendants were to sue themselves or certain of the officers of
12
     Adamas, there would be no directors’ and officers’ insurance protection. Accordingly, the Director-
13
     Defendants cannot be expected to bring such a suit. On the other hand, if the suit is brought derivatively,
14
     as this action is brought, such insurance coverage, if such an insurance policy exists, will provide a basis
15
     for the Company to effectuate a recovery. Thus, demand on the Directors is futile and, therefore,
16
     excused.
17
            167.    If there is no directors’ and officers’ liability insurance, then the Director-Defendants will
18
     not cause Adamas to sue the Individual Defendants named herein, since, if they did, they would face a
19
     large uninsured individual liability. Accordingly, demand is futile in that event, as well.
20
            168.    Thus, for all of the reasons set forth above, all of the Director-Defendants, and, if not all
21
     of them, at least four of the Directors, cannot consider a demand with disinterestedness and
22
     independence. Consequently, a demand upon the Board is excused as futile.
23
                                                   FIRST CLAIM
24
                                 Against Individual Defendants for Violations of
25                             Section 14(a) of the Securities Exchange Act of 1934
26          169.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

27   above, as though fully set forth herein.

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              170.   The claims made pursuant to Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1),
 2
     that are alleged herein are based solely on negligence. They are not based on any allegation of reckless
 3
     or knowing conduct by or on behalf of the Individual Defendants. The Section 14(a) claims alleged
 4
     herein do not allege and do not sound in fraud. Plaintiff specifically disclaims any allegations of,
 5
     reliance upon any allegation of, or reference to any allegation of fraud, scienter, or recklessness with
 6
     regard to these nonfraud claims.
 7
              171.   Section 14(a) of the Exchange Act provides that “[i]t shall be unlawful for any person, by
 8
     use of the mails or by any means or instrumentality of interstate commerce or of any facility of a
 9
     national securities exchange or otherwise, in contravention of such rules and regulations as the [SEC]
10
     may prescribe as necessary or appropriate in the public interest or for the protection of investors, to
11
     solicit or to permit the use of his name to solicit any proxy or consent or authorization in respect of any
12
     security (other than an exempted security) registered pursuant to section 12 of this title [15 U.S.C. §
13
     78l].”
14
              172.   Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no proxy
15
     statement shall contain “any statement which, at the time and in the light of the circumstances under
16
     which it is made, is false or misleading with respect to any material fact, or which omits to state any
17
     material fact necessary in order to make the statements therein not false or misleading.” 17 C.F.R. §
18
     240.14a-9.
19
              173.   Under the direction and watch of the Directors, the 2018 and 2019 Proxy Statements (the
20
     “Proxy Statements”) failed to disclose, inter alia, that: (1) health insurers and other payors were by and
21
     large providing limited or no coverage of GOCOVRI, or were imposing burdensome requirements that
22
     limited patients’ access to GOCOVRI; (2) as payors began to indicate their positions on GOCOVRI, the
23
     number of physicians prescribing GOCOVRI would decrease precipitously; (3) as a result of the
24
     foregoing, GOCOVRI’s sales, market penetration, and market share would be severely impacted in the
25
     long run; and (4) the Company failed to maintain internal controls. As a result of the foregoing, the
26
     Company’s public statements were materially false and misleading at all relevant times.
27

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 1
            174.    Moreover, the Proxy Statements were false and misleading when they discussed the
 2
     Company’s adherence to specific governance policies and procedures, including the Code of Conduct,
 3
     due to the Individual Defendants’ failures to abide by them and their engagement in the scheme to issue
 4
     false and misleading statements and omissions of material fact.
 5
            175.    In the exercise of reasonable care, the Individual Defendants should have known that by
 6
     misrepresenting or failing to disclose the foregoing material facts, the statements contained in the Proxy
 7
     Statements were materially false and misleading. The misrepresentations and omissions were material to
 8
     Plaintiff in voting on the matters set forth for shareholder determination in the Proxy Statements,
 9
     including election of directors and appointment of an independent auditor.
10
            176.    The false and misleading elements of the Proxy Statements led to the re-election of
11
     Defendants Went, Bigham, Demski, Dier, Ericson, Lieberburg, Mahoney, and MacPhee, which allowed
12
     them to continue breaching their fiduciary duties to Adamas.
13
            177.    The Company was damaged as a result of the Individual Defendants’ material
14
     misrepresentations and omissions in the Proxy Statements.
15
            178.    Plaintiff on behalf of Adamas has no adequate remedy at law.
16
                                                SECOND CLAIM
17
                         Against Individual Defendants for Breach of Fiduciary Duties
18
            179.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth
19
     above, as though fully set forth herein.
20
            180.    Each Individual Defendant owed to the Company the duty to exercise candor, good faith,
21
     and loyalty in the management and administration of Adamas’ business and affairs.
22
            181.    Each of the Individual Defendants violated and breached his or her fiduciary duties of
23
     candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.
24
            182.    The Individual Defendants’ conduct set forth herein was due to their intentional or
25
     reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The Individual
26
     Defendants intentionally or recklessly breached or disregarded their fiduciary duties to protect the rights
27
     and interests of Adamas.
28
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 1
            183.    In breach of their fiduciary duties, the Individual Defendants failed to maintain an
 2
     adequate system of oversight, disclosure controls and procedures, and internal controls.
 3
            184.    In further breach of their fiduciary duties owed to Adamas, the Individual Defendants
 4
     willfully or recklessly made and/or allowed certain of the Individual Defendants and the Company to
 5
     make false and misleading statements and omissions of material fact that failed to disclose, inter alia,
 6
     that: (1) health insurers and other payors were by and large providing limited or no coverage of
 7
     GOCOVRI, or were imposing burdensome requirements that limited patients’ access to GOCOVRI; (2)
 8
     as payors began to indicate their positions on GOCOVRI, the number of physicians prescribing
 9
     GOCOVRI would decrease precipitously; (3) as a result of the foregoing, GOCOVRI’s sales, market
10
     penetration, and market share would be severely impacted in the long run; and (4) the Company failed to
11
     maintain internal controls. As a result of the foregoing, the Company’s public statements were
12
     materially false and misleading at all relevant times.
13
            185.    The Individual Defendants failed to correct and/or caused the Company to fail to rectify
14
     any of the wrongs described herein or correct the false and misleading statements and omissions of
15
     material fact referenced herein, rendering them personally liable to the Company for breaching their
16
     fiduciary duties.
17
            186.    In breach of their fiduciary duties, two of the Individual Defendants engaged in lucrative
18
     insider sales while the price of the Company’s common stock was artificially inflated due to the false
19
     and misleading statements of material fact discussed herein.
20
            187.    The Individual Defendants had actual or constructive knowledge that the Company
21
     issued materially false and misleading statements, and they failed to correct the Company’s public
22
     statements. The Individual Defendants had actual knowledge of the misrepresentations and omissions of
23
     material facts set forth herein, or acted with reckless disregard for the truth, in that they failed to
24
     ascertain and to disclose such facts, even though such facts were available to them. Such material
25
     misrepresentations and omissions were committed knowingly or recklessly and for the purpose and
26
     effect of artificially inflating the price of the Company’s securities and disguising insider sales.
27

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 1
            188.    The Individual Defendants had actual or constructive knowledge that they had caused the
 2
     Company to improperly engage in the fraudulent scheme set forth herein and to fail to maintain adequate
 3
     internal controls. The Individual Defendants had actual knowledge that the Company was engaging in
 4
     the fraudulent scheme set forth herein, and that internal controls were not adequately maintained, or
 5
     acted with reckless disregard for the truth, in that they caused the Company to improperly engage in the
 6
     fraudulent scheme and to fail to maintain adequate internal controls, even though such facts were
 7
     available to them. Such improper conduct was committed knowingly or recklessly and for the purpose
 8
     and effect of artificially inflating the price of the Company’s securities and engaging in insider sales.
 9
     The Individual Defendants, in good faith, should have taken appropriate action to correct the schemes
10
     alleged herein and to prevent them from continuing to occur.
11
            189.    These actions were not a good-faith exercise of prudent business judgment to protect and
12
     promote the Company’s corporate interests.
13
            190.    As a direct and proximate result of the Individual Defendants’ breaches of their fiduciary
14
     obligations, Adamas has sustained and continues to sustain significant damages. As a result of the
15
     misconduct alleged herein, the Individual Defendants are liable to the Company.
16
            191.    Plaintiff on behalf of Adamas has no adequate remedy at law.
17
                                                THIRD CLAIM
18
                             Against Individual Defendants for Unjust Enrichment
19
            192.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth
20
     above, as though fully set forth herein.
21
            193.    By their wrongful acts, violations of law, and false and misleading statements and
22
     omissions of material fact that they made and/or caused to be made, the Individual Defendants were
23
     unjustly enriched at the expense of, and to the detriment of, Adamas.
24
            194.    The Individual Defendants either benefitted financially from the improper conduct and
25
     their making lucrative insider sales or received unjustly lucrative bonuses tied to the false and
26
     misleading statements, or received bonuses, stock options, or similar compensation from Adamas that
27

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 1
     was tied to the performance or artificially inflated valuation of Adamas, or received compensation that
 2
     was unjust in light of the Individual Defendants’ bad faith conduct.
 3
            195.    Plaintiff, as a shareholder and a representative of Adamas, seeks restitution from the
 4
     Individual Defendants and seeks an order from this Court disgorging all profits—including from insider
 5
     sales, benefits, and other compensation, including any performance-based or valuation-based
 6
     compensation—obtained by the Individual Defendants due to their wrongful conduct and breach of their
 7
     fiduciary duties.
 8
            196.    Plaintiff on behalf of Adamas has no adequate remedy at law.
 9
                                                  FOURTH CLAIM
10
                          Against Individual Defendants for Waste of Corporate Assets
11
            197.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth
12
     above, as though fully set forth herein.
13
            198.    As a further result of the foregoing, the Company will incur many millions of dollars of
14
     legal liability and/or costs to defend unlawful actions, to engage in internal investigations, and to lose
15
     financing from investors and business from future customers who no longer trust the Company and its
16
     products.
17
            199.    Furthermore, the Individual Defendants caused themselves to receive excessive
18
     compensation from the Company given their misconduct, thereby wasting the Company’s assets.
19
            200.    As a result of the waste of corporate assets, the Individual Defendants are each liable to
20
     the Company.
21
            201.    Plaintiff on behalf of Adamas has no adequate remedy at law.
22
                                                PRAYER FOR RELIEF
23
            202.    FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all
24
     Individual Defendants as follows:
25
                    (a)     Declaring that Plaintiff may maintain this action on behalf of Adamas, and that
26
     Plaintiff is an adequate representative of the Company;
27
                    (b)     Declaring that the Individual Defendants have breached and/or aided and abetted
28
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 1
     the breach of their fiduciary duties to Adamas;
 2
                    (c)     Determining and awarding to Adamas the damages sustained by it as a result of
 3
     the violations set forth above from each of the Individual Defendants, jointly and severally, together
 4
     with pre-judgment and post-judgment interest thereon;
 5
                    (d)     Directing Adamas and the Individual Defendants to take all necessary actions to
 6
     reform and improve its corporate governance and internal procedures to comply with applicable laws
 7
     and to protect Adamas and its shareholders from a repeat of the damaging events described herein,
 8
     including, but not limited to, putting forward for shareholder vote the following resolutions for
 9
     amendments to the Company’s Bylaws or Certificate of Incorporation and the following actions as may
10
     be necessary to ensure proper corporate governance policies:
11
                          1. a proposal to strengthen the Board’s supervision of operations and develop and
12
                 implement procedures for greater shareholder input into the policies and guidelines of the
13
                 Board;
14
                          2. a provision to permit the shareholders of Adamas to nominate at least four
15
                 candidates for election to the Board; and
16
                          3. a proposal to ensure the establishment of effective oversight of compliance with
17
                 applicable laws, rules, and regulations.
18
                    (e)     Awarding Adamas restitution from the Individual Defendants, and each of them;
19
                    (f)     Awarding Plaintiff the costs and disbursements of this action, including
20
     reasonable attorneys’ and experts’ fees, costs, and expenses; and
21
                    (g)     Granting such other and further relief as the Court may deem just and proper.
22

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 1
                                          JURY TRIAL DEMANDED
 2
            Plaintiff hereby demands a trial by jury.
 3

 4   Dated: April 6, 2020                               Respectfully submitted,
 5                                                      THE ROSEN LAW FIRM, P.A.
 6

 7                                                      By: /s/ Laurence M. Rosen
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10                                                      Facsimile: (213) 226-4684
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11
                                                        Counsel for Plaintiff
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